                                                                                                                                                 11/30/23 4:15 PM
               Case 23-61841-jwc                  Doc 1     Filed 11/30/23 Entered 11/30/23 16:18:43                              Desc Main
                                                            Document      Page 1 of 68

Fill in this information to identify your case:


United States Bankruptcy Court for the:

NORTHERN DISTRICT OF GEORGIA

Case number (if known)                                                      Chapter       7
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                              06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Quality Aircraft Tooling Inc

2.   All other names debtor
     used in the last 8 years
     Include any assumed          DBA Aero Info
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  1048 King Industrial Dr
                                  Marietta, GA 30062
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Cobb                                                            Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)        https://www.qat.aero/


6.   Type of debtor                    Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                       Partnership (excluding LLP)
                                       Other. Specify:




 Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                 page 1
                                                                                                                                                     11/30/23 4:15 PM
                 Case 23-61841-jwc                 Doc 1         Filed 11/30/23 Entered 11/30/23 16:18:43                                  Desc Main
                                                                 Document      Page 2 of 68
Debtor    Quality Aircraft Tooling Inc                                                                  Case number (if known)
          Name


7.   Describe debtor's business        A. Check one:
                                           Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                           Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                           Railroad (as defined in 11 U.S.C. § 101(44))
                                           Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                           Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                           Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                           None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                           Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                           Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the                Chapter 7
     debtor filing?
                                           Chapter 9
     A debtor who is a “small
                                           Chapter 11. Check all that apply:
     business debtor” must check
     the first sub-box. A debtor as                               The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     defined in § 1182(1) who                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     elects to proceed under                                      $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     subchapter V of chapter 11                                   operations, cash-flow statement, and federal income tax return or if any of these documents do not
     (whether or not the debtor is                                exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     a “small business debtor”)                                   The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
     must check the second                                        debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
     sub-box.                                                     proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                  balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                  any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                  A plan is being filed with this petition.
                                                                  Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                                  The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                                  The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                           Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against            Yes.
     the debtor within the last 8
     years?
     If more than 2 cases, attach a
     separate list.                              District                                  When                                  Case number
                                                 District                                  When                                  Case number

10. Are any bankruptcy cases              No
    pending or being filed by a           Yes.
    business partner or an
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                      Debtor                                                                      Relationship
                                                 District                                  When                              Case number, if known

 Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 2
                                                                                                                                                   11/30/23 4:15 PM
                Case 23-61841-jwc               Doc 1        Filed 11/30/23 Entered 11/30/23 16:18:43                                 Desc Main
                                                             Document      Page 3 of 68
Debtor   Quality Aircraft Tooling Inc                                                              Case number (if known)
         Name




11. Why is the case filed in    Check all that apply:
    this district?                       Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any          Yes.
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?       oil sludge need to be removed (currently contained)
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                                                              1048 King Industrial Dr
                                             Where is the property?           Marietta, GA, 30062
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency      Sentry Insurance
                                                        Contact name          Parker Stevens Agency
                                                        Phone                 (800) 248-4087


         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                       50-99                                            5001-10,000                                 50,001-100,000
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion

16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                   $500,000,001 - $1 billion
                                     $50,001 - $100,000                              $10,000,001 - $50 million                  $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                 $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                More than $50 billion




 Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
                                                                                                                                                 11/30/23 4:15 PM
                Case 23-61841-jwc               Doc 1       Filed 11/30/23 Entered 11/30/23 16:18:43                                Desc Main
                                                            Document      Page 4 of 68
Debtor   Quality Aircraft Tooling Inc                                                              Case number (if known)
         Name



         Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on       November 30, 2023
                                                  MM / DD / YYYY


                             X /s/       Rhonda Kahn                                                       Rhonda Kahn
                                 Signature of authorized representative of debtor                         Printed name

                                 Title    President




18. Signature of attorney    X /s/ Ian Falcone                                                             Date    November 30, 2023
                                 Signature of attorney for debtor                                                 MM / DD / YYYY

                                 Ian Falcone 254470
                                 Printed name

                                 The Falcone Law Firm, PC
                                 Firm name

                                 363 Lawrence St NE
                                 Marietta, GA 30060-2056
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (770) 426-9359                Email address      imf@falconefirm.com

                                 254470 GA
                                 Bar number and State




 Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 4
                                                                                                                                            11/30/23 4:15 PM
             Case 23-61841-jwc                       Doc 1           Filed 11/30/23 Entered 11/30/23 16:18:43                   Desc Main
                                                                     Document      Page 5 of 68




 Fill in this information to identify the case:

 Debtor name         Quality Aircraft Tooling Inc

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF GEORGIA

 Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                       12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on           November 30, 2023                      X /s/ Rhonda Kahn
                                                                       Signature of individual signing on behalf of debtor

                                                                        Rhonda Kahn
                                                                       Printed name

                                                                       President
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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                                                                                                                                                                                                   11/30/23 4:15 PM
              Case 23-61841-jwc                                 Doc 1              Filed 11/30/23 Entered 11/30/23 16:18:43                                                            Desc Main
                                                                                   Document      Page 6 of 68
 Fill in this information to identify the case:

 Debtor name            Quality Aircraft Tooling Inc

 United States Bankruptcy Court for the:                       NORTHERN DISTRICT OF GEORGIA

 Case number (if known)
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $           442,801.60

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $           442,801.60


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $        1,709,776.50


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $            98,852.12

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$        2,031,780.87


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $           3,840,409.49




 Official Form 206Sum                                             Summary of Assets and Liabilities for Non-Individuals                                                                                  page 1
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                                                                                                                                                   11/30/23 4:15 PM
             Case 23-61841-jwc                       Doc 1           Filed 11/30/23 Entered 11/30/23 16:18:43                      Desc Main
                                                                     Document      Page 7 of 68
 Fill in this information to identify the case:

 Debtor name         Quality Aircraft Tooling Inc

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF GEORGIA

 Case number (if known)
                                                                                                                                       Check if this is an
                                                                                                                                       amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                      12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

          No. Go to Part 2.
          Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                       debtor's interest

 3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                            number


           3.1.     Chase -<$106820.70>                                     Checking                        3286                                             $0.00




           3.2.     Chase -<$106815.46>                                     Checking                        5783                                             $0.00




           3.3.     Chase -<$82600.38>                                      Checking                        9331                                             $0.00




           3.4.     Chase -<$105217.21>                                     Checking                        9398                                             $0.00



 4.        Other cash equivalents (Identify all)

 5.        Total of Part 1.
                                                                                                                                                      $0.00
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

        No. Go to Part 3.
        Yes Fill in the information below.



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                            page 1
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                                                                                                                                                 11/30/23 4:15 PM
             Case 23-61841-jwc                       Doc 1            Filed 11/30/23 Entered 11/30/23 16:18:43                         Desc Main
                                                                      Document      Page 8 of 68
 Debtor         Quality Aircraft Tooling Inc                                                          Case number (If known)
                Name

 Part 3:        Accounts receivable
10. Does the debtor have any accounts receivable?

        No. Go to Part 4.
        Yes Fill in the information below.

 11.       Accounts receivable

           11a. 90 days old or less:                                 67,798.00   -                                   0.00 = ....                  $67,798.00
                                              face amount                               doubtful or uncollectible accounts




           11b. Over 90 days old:                                    11,537.00   -                                  0.00 =....                    $11,537.00
                                              face amount                               doubtful or uncollectible accounts



 12.       Total of Part 3.
                                                                                                                                              $79,335.00
           Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4:        Investments
13. Does the debtor own any investments?

        No. Go to Part 5.
        Yes Fill in the information below.


 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

        No. Go to Part 6.
        Yes Fill in the information below.

           General description                       Date of the last                Net book value of         Valuation method used    Current value of
                                                     physical inventory              debtor's interest         for current value        debtor's interest
                                                                                     (Where available)

 19.       Raw materials

 20.       Work in progress

 21.       Finished goods, including goods held for resale

 22.       Other inventory or supplies
           inventory including
           finished goods, work in
           process, raw materials
           and component parts                                                                      $0.00                                            Unknown



 23.       Total of Part 5.
                                                                                                                                                     $0.00
           Add lines 19 through 22. Copy the total to line 84.

 24.       Is any of the property listed in Part 5 perishable?
               No
               Yes

 25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
             No
             Yes. Book value                            Valuation method                         Current Value

 26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
             No
             Yes
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                           page 2
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                                                                                                                                       11/30/23 4:15 PM
             Case 23-61841-jwc                       Doc 1           Filed 11/30/23 Entered 11/30/23 16:18:43                Desc Main
                                                                     Document      Page 9 of 68
 Debtor         Quality Aircraft Tooling Inc                                                  Case number (If known)
                Name



 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.
        Yes Fill in the information below.


 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes Fill in the information below.

           General description                                                Net book value of      Valuation method used    Current value of
                                                                              debtor's interest      for current value        debtor's interest
                                                                              (Where available)

 39.       Office furniture
           office furniture                                                                 $0.00                                         $3,814.06



 40.       Office fixtures

 41.       Office equipment, including all computer equipment and
           communication systems equipment and software
           Dell SonicWall Tz30 serial 18816952ECOC
           583.00
           Labor to configure VPN $487.50
           Labor to configure VPN CA $825.00                                                $0.00                                         $1,895.50


           Windows server operating system                                                  $0.00                                           $612.00


           2 all in one computers & 1 laptop                                                $0.00                                         $6,400.00


           APC RBC                                                                          $0.00                                           $429.71


           support and installation                                                         $0.00                                           $815.00


           Dell laptop XPS 17                                                               $0.00                                         $4,295.79


           Dell Latitude 5420 laptop                                                        $0.00                                         $1,621.21


           IBM Server 00J6148YK10KS007337                                                   $0.00                                         $5,051.80


           Firewall Dell Sonic Wall Tz30                                                    $0.00                                           $535.00


           Dell Computer & Monitors-Serial no 11629555382                                   $0.00                                           $714.80


           Schneider Electric UPS                                                           $0.00                                           $495.70


           Dell Precision 7510 serial #BRNQFH2 $2156.30
           Dell Latitude E7470 serial #DJVQIH2 $2156.30
           Dell Latitude E7470 serial #HQDRFH2 $2156.30                                     $0.00                                         $6,468.90
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                 page 3
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                                                                                                                             11/30/23 4:15 PM
             Case 23-61841-jwc                       Doc 1            Filed 11/30/23 Entered 11/30/23 16:18:43        Desc Main
                                                                     Document      Page 10 of 68
 Debtor         Quality Aircraft Tooling Inc                                                 Case number (If known)
                Name




           Dell computer 3050SFF                                                            $0.00                                 $544.60


           Apple IPAD serial DMQJLZY4F183                                                   $0.00                               $1,140.00


           Dell 15 7000 Inspiron laptop. $1355.10
           Dell 14 7000 laptop $955.00                                                      $0.00                               $2,310.10


           Set up/trouble shoot Aero                                                        $0.00                                 $815.00


           2 Dell Optiplex Micro 3050 PCs                                                   $0.00                               $1,335.60


           4 Dell 24" LED monitors                                                          $0.00                                 $593.60


           Install new back up system                                                       $0.00                               $1,682.50


           new UPS back up & support                                                        $0.00                               $1,478.97


           2 all in ones for shop                                                           $0.00                               $1,557.97


           laptop for QC                                                                    $0.00                                 $770.39


           4 monitors and 1 wall mount                                                      $0.00                                 $767.94


           5 PCs                                                                            $0.00                               $3,709.95


           laptop for new sales position                                                    $0.00                               $1,766.19



 42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
           books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
           collections; other collections, memorabilia, or collectibles

 43.       Total of Part 7.                                                                                                  $51,622.28
           Add lines 39 through 42. Copy the total to line 86.

 44.       Is a depreciation schedule available for any of the property listed in Part 7?
               No
               Yes

 45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
             No
             Yes

 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes Fill in the information below.



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                       page 4
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                                                                                                                                       11/30/23 4:15 PM
             Case 23-61841-jwc                       Doc 1            Filed 11/30/23 Entered 11/30/23 16:18:43               Desc Main
                                                                     Document      Page 11 of 68
 Debtor         Quality Aircraft Tooling Inc                                                  Case number (If known)
                Name

           General description                                                Net book value of      Valuation method used    Current value of
           Include year, make, model, and identification numbers              debtor's interest      for current value        debtor's interest
           (i.e., VIN, HIN, or N-number)                                      (Where available)

 47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles


 48.       Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
           floating homes, personal watercraft, and fishing vessels

 49.       Aircraft and accessories


 50.       Other machinery, fixtures, and equipment (excluding farm
           machinery and equipment)
           R15 Rotary Table-Ziegler                                                         $0.00                                         $2,747.00


           WF Wells Bandsaw #815109                                                         $0.00                                           $800.00


           Armstrong-Blum Bandsaw #821019                                                   $0.00                                         $2,500.00


           forklift                                                                         $0.00                                         $5,000.00


           dryer, compressed air, 25CFM, 7.5 HP (SPX
           Hankinson)                                                                       $0.00                                         $1,175.56


           Dynamex electric air compressor, 2 stage, 34.8 CI                                $0.00                                         $3,460.54


           Jakobson surface grinder                                                         $0.00                                         $1,770.94


           Powermax 45 Plasma 20" cutter                                                    $0.00                                         $1,742.22


           Spoolmate Spoolgun with Miller adaptor WC-24                                     $0.00                                         $1,165.27


           Belt/Disc sanding machine                                                        $0.00                                         $1,626.90


           3 table feeds for the Mills                                                      $0.00                                         $2,132.22


           2 DROs, 2 belts & other mill parts                                               $0.00                                         $3,921.30


           1 large table feed for lathe                                                     $0.00                                           $856.28


           electrostatic mats for shop                                                      $0.00                                           $667.80


           8 fans                                                                           $0.00                                         $2,532.00


           Cyclone manufacturing                                                            $0.00                                         $1,126.76




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                 page 5
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                                                                                                                             11/30/23 4:15 PM
             Case 23-61841-jwc                       Doc 1            Filed 11/30/23 Entered 11/30/23 16:18:43        Desc Main
                                                                     Document      Page 12 of 68
 Debtor         Quality Aircraft Tooling Inc                                                 Case number (If known)
                Name

            300DB plus starter kit for aluminum                                             $0.00                               $2,946.39


            2-Dr Heat Kiln                                                                  $0.00                               $9,016.34


            KDF-40 Stand, funnel, neuco-50 gallon drum,
            coolant for heat treat, Pioneer Rubber quench
            tank                                                                            $0.00                               $7,202.15


            Haas 3SS, Slater tool holder                                                    $0.00                             $85,762.65


            Used 2008 Doosan Lynx 220LC CNC Turning
            Center, Chip Conveyer, Parts catcher, tool
            presenter, tooling, manuals, Newall 2 axis DRO
            and coolant system, Install transformer                                         $0.00                             $40,567.81


            K3 Mill                                                                         $0.00                             $25,190.00


            2 used EDMs with tooling                                                        $0.00                               $4,460.52


            Used lathe, Ellison technology lathe tooling                                    $0.00                             $15,726.43


            Flymarker                                                                       $0.00                               $8,396.00


            RX5 Bedmill (Premier Engineering)                                               $0.00                             $64,500.00


            Cardio Partners-Zoll
            Serial no. 00847946 00223 7 (21) X17J963465                                     $0.00                               $1,550.00



 51.        Total of Part 8.
                                                                                                                          $298,543.08
            Add lines 47 through 50. Copy the total to line 87.

 52.        Is a depreciation schedule available for any of the property listed in Part 8?
                No
                Yes

 53.        Has any of the property listed in Part 8 been appraised by a professional within the last year?
              No
              Yes

 Part 9:        Real property
54. Does the debtor own or lease any real property?

        No. Go to Part 10.
        Yes Fill in the information below.


 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

        No. Go to Part 11.
        Yes Fill in the information below.


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                       page 6
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                                                                     Document      Page 13 of 68
 Debtor         Quality Aircraft Tooling Inc                                                  Case number (If known)
                Name

            General description                                               Net book value of      Valuation method used    Current value of
                                                                              debtor's interest      for current value        debtor's interest
                                                                              (Where available)

 60.        Patents, copyrights, trademarks, and trade secrets

 61.        Internet domain names and websites

 62.        Licenses, franchises, and royalties

 63.        Customer lists, mailing lists, or other compilations

 64.        Other intangibles, or intellectual property
            proprietary products                                                            $0.00                                          Unknown



 65.        Goodwill

 66.        Total of Part 10.
                                                                                                                                             $0.00
            Add lines 60 through 65. Copy the total to line 89.

 67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
              No
              Yes

 68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
                No
                Yes

 69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
              No
              Yes

 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes Fill in the information below.

                                                                                                                              Current value of
                                                                                                                              debtor's interest


 71.        Notes receivable
            Description (include name of obligor)

 72.        Tax refunds and unused net operating losses (NOLs)
            Description (for example, federal, state, local)

 73.        Interests in insurance policies or annuities

 74.        Causes of action against third parties (whether or not a lawsuit
            has been filed)

 75.        Other contingent and unliquidated claims or causes of action of
            every nature, including counterclaims of the debtor and rights to
            set off claims

 76.        Trusts, equitable or future interests in property

 77.        Other property of any kind not already listed Examples: Season tickets,
            country club membership

            booth furnishings                                                                                                           $13,301.24


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                 page 7
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                                                                     Document      Page 14 of 68
 Debtor         Quality Aircraft Tooling Inc                                                 Case number (If known)
                Name



 78.       Total of Part 11.
                                                                                                                            $13,301.24
           Add lines 71 through 77. Copy the total to line 90.

 79.       Has any of the property listed in Part 11 been appraised by a professional within the last year?
             No
             Yes




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                       page 8
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                                                                        Document      Page 15 of 68
 Debtor          Quality Aircraft Tooling Inc                                                                       Case number (If known)
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                              Current value of                     Current value of real
                                                                                                    personal property                    property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                                    $0.00

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                         $0.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                    $79,335.00

 83. Investments. Copy line 17, Part 4.                                                                                     $0.00

 84. Inventory. Copy line 23, Part 5.                                                                                       $0.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                              $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                         $51,622.28

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                    $298,543.08

 88. Real property. Copy line 56, Part 9.........................................................................................>                               $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                          $0.00

 90. All other assets. Copy line 78, Part 11.                                                   +                  $13,301.24

 91. Total. Add lines 80 through 90 for each column                                                           $442,801.60            + 91b.                      $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $442,801.60




Official Form 206A/B                                              Schedule A/B Assets - Real and Personal Property                                                           page 9
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                                                                     Document      Page 16 of 68
 Fill in this information to identify the case:

 Debtor name         Quality Aircraft Tooling Inc

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF GEORGIA

 Case number (if known)
                                                                                                                                              Check if this is an
                                                                                                                                              amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                      12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
           No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
           Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                    Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                                Amount of claim             Value of collateral
                                                                                                                                                that supports this
                                                                                                                    Do not deduct the value     claim
                                                                                                                    of collateral.
 2.1   Atlantic Capital Bank                         Describe debtor's property that is subject to a lien                  $195,000.00                        $0.00
       Creditor's Name                               inventory, accounts and accounts receivables
       3280 Peachtree Rd
       Suite 1600
       Atlanta, GA 30305
       Creditor's mailing address                    Describe the lien
                                                     UCC-SBA
                                                     Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                Yes
                                                     Is anyone else liable on this claim?
       Date debt was incurred                            No
       2018.1                                            Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                 As of the petition filing date, the claim is:
       interest in the same property?                Check all that apply
           No                                           Contingent
           Yes. Specify each creditor,                  Unliquidated
       including this creditor and its relative         Disputed
       priority.




 2.2   Atlantic Capital Bank                         Describe debtor's property that is subject to a lien                  $493,863.15                        $0.00
       Creditor's Name                               blanket lien
       3280 Peachtree Rd
       Suite 1600
       Atlanta, GA 30305
       Creditor's mailing address                    Describe the lien
                                                     UCC-SBA loan
                                                     Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                Yes
                                                     Is anyone else liable on this claim?
       Date debt was incurred                            No
       2017                                              Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                 As of the petition filing date, the claim is:
       interest in the same property?                Check all that apply
           No                                           Contingent
           Yes. Specify each creditor,                  Unliquidated
       including this creditor and its relative         Disputed
       priority.



Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                   page 1 of 5
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             Case 23-61841-jwc                       Doc 1            Filed 11/30/23 Entered 11/30/23 16:18:43                               Desc Main
                                                                     Document      Page 17 of 68
 Debtor       Quality Aircraft Tooling Inc                                                             Case number (if known)
              Name



 2.3   Atlantic Capital Bank                         Describe debtor's property that is subject to a lien                       $88,522.00              $0.00
       Creditor's Name                               blanket lien
       3280 Peachtree Rd
       Suite 1600
       Atlanta, GA 30305
       Creditor's mailing address                    Describe the lien
                                                     UCC -SBA equipment
                                                     Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                Yes
                                                     Is anyone else liable on this claim?
       Date debt was incurred                            No
       2018.1                                            Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                 As of the petition filing date, the claim is:
       interest in the same property?                Check all that apply
           No                                           Contingent
           Yes. Specify each creditor,                  Unliquidated
       including this creditor and its relative         Disputed
       priority.




 2.4   Green Note Capital Partners                   Describe debtor's property that is subject to a lien                       $53,410.35              $0.00
       Creditor's Name                               all accounts, rights, general intangibles,
       1019 Avenue P                                 insurance claims, documents, instruments,
       Suite 401                                     securities, deposit accounts
       Brooklyn, NY 11223
       Creditor's mailing address                    Describe the lien
                                                     UCC-judgment awarded 11.17
                                                     Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                Yes
                                                     Is anyone else liable on this claim?
       Date debt was incurred                            No
       1.2023                                            Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                 As of the petition filing date, the claim is:
       interest in the same property?                Check all that apply
           No                                           Contingent
           Yes. Specify each creditor,                  Unliquidated
       including this creditor and its relative         Disputed
       priority.




 2.5   Intech Funding Corp                           Describe debtor's property that is subject to a lien                       $55,333.00        $64,500.00
       Creditor's Name                               RX5 Bedmill (Premier Engineering)
       201 E Huntington Drive
       Suite 201
       Monrovia, CA 91016
       Creditor's mailing address                    Describe the lien
                                                     UCC
                                                     Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                Yes
                                                     Is anyone else liable on this claim?
       Date debt was incurred                            No
       2022.5                                            Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                 As of the petition filing date, the claim is:
       interest in the same property?                Check all that apply
          No                                            Contingent
          Yes. Specify each creditor,

Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                     page 2 of 5
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             Case 23-61841-jwc                       Doc 1            Filed 11/30/23 Entered 11/30/23 16:18:43                               Desc Main
                                                                     Document      Page 18 of 68
 Debtor       Quality Aircraft Tooling Inc                                                             Case number (if known)
              Name

       including this creditor and its relative          Unliquidated
       priority.                                         Disputed




 2.6   Knightsbridge Funding LLC                     Describe debtor's property that is subject to a lien                       $42,500.00              $0.00
       Creditor's Name                               all accounts, A/R, deposit accounts
       40 Wall St
       Suite 2903
       New York, NY 10005
       Creditor's mailing address                    Describe the lien
                                                     UCC
                                                     Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                Yes
                                                     Is anyone else liable on this claim?
       Date debt was incurred                            No
       2023.2                                            Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                 As of the petition filing date, the claim is:
       interest in the same property?                Check all that apply
           No                                           Contingent
           Yes. Specify each creditor,                  Unliquidated
       including this creditor and its relative         Disputed
       priority.




       Macquarie Equipment Capital
 2.7
       Inc                                           Describe debtor's property that is subject to a lien                       $62,013.00              $0.00
       Creditor's Name                               equipment, fixtures, software

       1301 Riverplace Blvd
       Jacksonville, FL 32207
       Creditor's mailing address                    Describe the lien
                                                     UCC
                                                     Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                Yes
                                                     Is anyone else liable on this claim?
       Date debt was incurred                            No
       2021.4                                            Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                 As of the petition filing date, the claim is:
       interest in the same property?                Check all that apply
           No                                           Contingent
           Yes. Specify each creditor,                  Unliquidated
       including this creditor and its relative         Disputed
       priority.




 2.8   Meridian Equipment Finance                    Describe debtor's property that is subject to a lien                       $90,889.00              $0.00
       Creditor's Name                               HP DL360 g9 8 bay server

       9 Lincoln Hwy
       Malvern, PA 19355
       Creditor's mailing address                    Describe the lien
                                                     UCC
                                                     Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                Yes
                                                     Is anyone else liable on this claim?
       Date debt was incurred                            No
       2022.5                                            Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number


Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                     page 3 of 5
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             Case 23-61841-jwc                       Doc 1            Filed 11/30/23 Entered 11/30/23 16:18:43                                Desc Main
                                                                     Document      Page 19 of 68
 Debtor       Quality Aircraft Tooling Inc                                                             Case number (if known)
              Name


       Do multiple creditors have an                 As of the petition filing date, the claim is:
       interest in the same property?                Check all that apply
           No                                           Contingent
           Yes. Specify each creditor,                  Unliquidated
       including this creditor and its relative         Disputed
       priority.




 2.9   Rapid Finance                                 Describe debtor's property that is subject to a lien                        $27,246.00              $0.00
       Creditor's Name                               all inventory, all accounts, A/R, general
       4500 East West Highway                        intangibles, equipment, furniture, fixtures,
       6th floor                                     machinery, storage shelves
       Bethesda, MD 20814
       Creditor's mailing address                    Describe the lien
                                                     UCC
                                                     Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                Yes
                                                     Is anyone else liable on this claim?
       Date debt was incurred                            No
       2022.4                                            Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                 As of the petition filing date, the claim is:
       interest in the same property?                Check all that apply
           No                                           Contingent
           Yes. Specify each creditor,                  Unliquidated
       including this creditor and its relative         Disputed
       priority.



 2.1
 0     TCF                                           Describe debtor's property that is subject to a lien                       $101,000.00              $0.00
       Creditor's Name                               HPE Proliant DL380 Gen 10 Server, Storage,
       11100 Wayzata Blvd                            Software
       Suite 801
       Hopkins, MN 55305
       Creditor's mailing address                    Describe the lien
                                                     UCC
                                                     Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                Yes
                                                     Is anyone else liable on this claim?
       Date debt was incurred                            No
       2020.6                                            Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                 As of the petition filing date, the claim is:
       interest in the same property?                Check all that apply
           No                                           Contingent
           Yes. Specify each creditor,                  Unliquidated
       including this creditor and its relative         Disputed
       priority.




 2.1   US Small Business
 1     Administration                                Describe debtor's property that is subject to a lien                       $500,000.00              $0.00
       Creditor's Name                               inventory, equipment, instruments, chattel paper,
       2 North St                                    documents, credit rights, accounts, deposit
       Suite 320                                     accounts, general intangibles
       Birmingham, AL 35203
       Creditor's mailing address                    Describe the lien
                                                     EIDL-UCC
                                                     Is the creditor an insider or related party?
                                                         No

Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                      page 4 of 5
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             Case 23-61841-jwc                       Doc 1            Filed 11/30/23 Entered 11/30/23 16:18:43                                 Desc Main
                                                                     Document      Page 20 of 68
 Debtor       Quality Aircraft Tooling Inc                                                             Case number (if known)
              Name

       Creditor's email address, if known                Yes
                                                     Is anyone else liable on this claim?
       Date debt was incurred                            No
       2020.5                                            Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                 As of the petition filing date, the claim is:
       interest in the same property?                Check all that apply
           No                                           Contingent
           Yes. Specify each creditor,                  Unliquidated
       including this creditor and its relative         Disputed
       priority.




                                                                                                                                $1,709,776.5
 3.   Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                           0

 Part 2:    List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                      On which line in Part 1 did you   Last 4 digits of
                                                                                                               enter the related creditor?       account number for
                                                                                                                                                 this entity
        Berkovitch & Bouskila PLLC
        1545 US 202                                                                                             Line   2.4
        Suite 101
        Pomona, NY 10970

        Huntington National Bank
        17 S High St                                                                                            Line   2.10
        Columbus, OH 43215

        Huntington National Bank c/o
        Taft Stettinius & Hollister LLP                                                                         Line   2.10
        2200 IDS Center
        80 South 8th St
        Minneapolis, MN 55402

        Meridian Equipment Finance
        Attn: Nathaniel T Reed, Senior Collector                                                                Line   2.8
        367 Eagleview Blvd
        Exton, PA 19341

        SouthState Bank
        1101 1st St S                                                                                           Line   2.1
        Winter Haven, FL 33880

        SouthState Bank NA c/o
        Golder Law LLC                                                                                          Line   2.2
        101 Village Pkwy-
        Building 1, Suite 400
        Marietta, GA 30067




Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                        page 5 of 5
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             Case 23-61841-jwc                       Doc 1            Filed 11/30/23 Entered 11/30/23 16:18:43                                Desc Main
                                                                     Document      Page 21 of 68
 Fill in this information to identify the case:

 Debtor name         Quality Aircraft Tooling Inc

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF GEORGIA

 Case number (if known)
                                                                                                                                                 Check if this is an
                                                                                                                                                 amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).
             No. Go to Part 2.
             Yes. Go to line 2.

       2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
          with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                   Total claim           Priority amount

 2.1       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                       $5,913.89          $5,913.89
           Brandon Kahn                                              Check all that apply.
                                                                        Contingent
           2620 Hill Gate Ct
                                                                        Unliquidated
           Snellville, GA 30039
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
                                                                     wages
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                           No
           unsecured claim: 11 U.S.C. § 507(a) (4)                       Yes


 2.2       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                       $1,485.01          $1,485.01
           City of Marietta                                          Check all that apply.
                                                                        Contingent
           PO Box 609
                                                                        Unliquidated
           Marietta, GA 30061
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
                                                                     property tax
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                           No
           unsecured claim: 11 U.S.C. § 507(a) (8)                       Yes


 2.3       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                          $554.38         $554.38
           Cobb County Property Tax                                  Check all that apply.
                                                                        Contingent
           PO Box 10027
                                                                        Unliquidated
           Marietta, GA 30061
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
                                                                     property tax
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                           No
           unsecured claim: 11 U.S.C. § 507(a) (8)                       Yes




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                 page 1 of 19
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             Case 23-61841-jwc                       Doc 1            Filed 11/30/23 Entered 11/30/23 16:18:43                             Desc Main
                                                                     Document      Page 22 of 68
 Debtor       Quality Aircraft Tooling Inc                                                                    Case number (if known)
              Name

 2.4      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $3,694.59    $3,694.59
          Gabrielle Byrnes                                           Check all that apply.
                                                                        Contingent
          2752 Wyndcliff Way
                                                                        Unliquidated
          Marietta, GA 30066
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                            No
          unsecured claim: 11 U.S.C. § 507(a) (4)                        Yes


 2.5      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $8,708.89    $8,708.89
          Georgia Department of Revenue                              Check all that apply.
                                                                        Contingent
          Compliance Div
                                                                        Unliquidated
          ARCS-BK
                                                                        Disputed
          1800 Century Blvd, Suite 9100
          Atlanta, GA 30345
          Date or dates debt was incurred                            Basis for the claim:
                                                                     payroll tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                            No
          unsecured claim: 11 U.S.C. § 507(a) (8)                        Yes


 2.6      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     $49,077.24    $49,077.24
          Internal Revenue Service                                   Check all that apply.
                                                                        Contingent
          PO Box 7346
                                                                        Unliquidated
          Philadelphia, PA 19101-7346
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     payroll taxes
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                            No
          unsecured claim: 11 U.S.C. § 507(a) (8)                        Yes


 2.7      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     $23,391.00    $23,391.00
          Internal Revenue Service                                   Check all that apply.
                                                                        Contingent
          PO Box 7346
                                                                        Unliquidated
          Philadelphia, PA 19101-7346
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     QAT FICA
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                            No
          unsecured claim: 11 U.S.C. § 507(a) (8)                        Yes


 2.8      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $3,597.93    $3,597.93
          James Norton                                               Check all that apply.
                                                                        Contingent
          4464 Patrick Dr NE
                                                                        Unliquidated
          Kennesaw, GA 30144
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                            No
          unsecured claim: 11 U.S.C. § 507(a) (4)                        Yes



Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 2 of 19
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                                                                                                                                                                       11/30/23 4:15 PM
             Case 23-61841-jwc                       Doc 1            Filed 11/30/23 Entered 11/30/23 16:18:43                                              Desc Main
                                                                     Document      Page 23 of 68
 Debtor       Quality Aircraft Tooling Inc                                                                    Case number (if known)
              Name

 2.9       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                       $2,429.19    $2,429.19
           Kenneth Hutto                                             Check all that apply.
                                                                        Contingent
           15 Corson Trail
                                                                        Unliquidated
           Taylorsville, GA 30178
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
                                                                     wages
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                           No
           unsecured claim: 11 U.S.C. § 507(a) (4)                       Yes



 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                       Amount of claim


 3.1       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                      $960.64
           Accurate Screw Machine
                                                                                       Contingent
           10 Audrey Place                                                             Unliquidated
           Fairfield, NJ 07004                                                         Disputed
           Date(s) debt was incurred                                               Basis for the claim: Trade debt
           Last 4 digits of account number                                         Is the claim subject to offset?      No         Yes


 3.2       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                    $7,109.82
           AGM Fabric
           27721 Pacific Hwy
                                                                                       Contingent
                                                                                       Unliquidated
           Federal Way, WA 98003                                                       Disputed
           Date(s) debt was incurred                                               Basis for the claim: Trade debt
           Last 4 digits of account number                                         Is the claim subject to offset?      No         Yes


 3.3       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                    $2,353.64
           Air Products Co
           78 Dawson Village Way N
                                                                                       Contingent
           Suite 140-127                                                               Unliquidated
           Dawsonville, GA 30534                                                       Disputed
           Date(s) debt was incurred                                               Basis for the claim: Trade debt
           Last 4 digits of account number                                         Is the claim subject to offset?      No         Yes


 3.4       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                  $10,622.23
           Air Specialists
                                                                                       Contingent
           PO Box 4185                                                                 Unliquidated
           Marietta, GA 30061                                                          Disputed
           Date(s) debt was incurred                                               Basis for the claim: Trade debt
           Last 4 digits of account number                                         Is the claim subject to offset?      No         Yes


 3.5       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                      $122.43
           Aircraft Hose Store
                                                                                       Contingent
           7800 Freedom Ave NW, North                                                  Unliquidated
           North Canton, OH 44720                                                      Disputed
           Date(s) debt was incurred                                               Basis for the claim: Trade debt
           Last 4 digits of account number                                         Is the claim subject to offset?      No         Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                            Page 3 of 19
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                                                                                                                                                          11/30/23 4:15 PM
             Case 23-61841-jwc                       Doc 1            Filed 11/30/23 Entered 11/30/23 16:18:43                                     Desc Main
                                                                     Document      Page 24 of 68
 Debtor       Quality Aircraft Tooling Inc                                                            Case number (if known)
              Name

 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $215.50
          Aircraft Inventory Management & Services
                                                                                Contingent
          14936 Trend Drive                                                     Unliquidated
          Dallas, TX 75234                                                      Disputed
          Date(s) debt was incurred                                          Basis for the claim: Trade debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $91.94
          Aircraft Spruce
                                                                                Contingent
          225 Airport Circle                                                    Unliquidated
          Corona, CA 92880                                                      Disputed
          Date(s) debt was incurred                                          Basis for the claim: Trade debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $64.00
          All Vac Industries Inc
                                                                                Contingent
          7350 N Central Park Ave                                               Unliquidated
          Skokie, IL 60076                                                      Disputed
          Date(s) debt was incurred                                          Basis for the claim: Trade debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $7,632.74
          Amazon
                                                                                Contingent
          410 Terry Ave N                                                       Unliquidated
          Seattle, WA 98109                                                     Disputed
          Date(s) debt was incurred                                          Basis for the claim: Trade debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $4,469.00
          American Express
                                                                                Contingent
          PO Box 60189                                                          Unliquidated
          City of Industry, CA 91716-0189                                       Disputed
          Date(s) debt was incurred 2019.12                                  Basis for the claim: LOC
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $401.75
          Ameripress Printing
                                                                                Contingent
          200 Fairground St NE                                                  Unliquidated
          Marietta, GA 30060                                                    Disputed
          Date(s) debt was incurred                                          Basis for the claim: Trade debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $42,209.00
          Amex
                                                                                Contingent
          PO Box 60189                                                          Unliquidated
          City of Industry, CA 91716-0189                                       Disputed
          Date(s) debt was incurred                                          Basis for the claim: Credit card purchases
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $26,177.00
          Amex Platinum
                                                                                Contingent
          PO Box 60189                                                          Unliquidated
          City of Industry, CA 91716-0189                                       Disputed
          Date(s) debt was incurred                                          Basis for the claim: Credit card purchases
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 4 of 19
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                                                                                                                                                          11/30/23 4:15 PM
             Case 23-61841-jwc                       Doc 1            Filed 11/30/23 Entered 11/30/23 16:18:43                                     Desc Main
                                                                     Document      Page 25 of 68
 Debtor       Quality Aircraft Tooling Inc                                                            Case number (if known)
              Name

 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $115.82
          Anderson Process
                                                                                Contingent
          21365 Gateway Court                                                   Unliquidated
          Brookfield, WI 53045                                                  Disputed
          Date(s) debt was incurred                                          Basis for the claim: Trade debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $4,003.47
          Applied Industrial Technologies
                                                                                Contingent
          22510 Network Place                                                   Unliquidated
          Chicago, IL 60673-1225                                                Disputed
          Date(s) debt was incurred                                          Basis for the claim: Trade debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $584.29
          ARC Document Solutions LLC
                                                                                Contingent
          PO Box 953466                                                         Unliquidated
          Saint Louis, MO 63195-3466                                            Disputed
          Date(s) debt was incurred                                          Basis for the claim: services
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $8,830.46
          Ashley Sling Inc
                                                                                Contingent
          PO Box 44413                                                          Unliquidated
          Atlanta, GA 30336                                                     Disputed
          Date(s) debt was incurred                                          Basis for the claim: Trade debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,782.33
          Atlanta Caster
                                                                                Contingent
          1810 E Auger Dr                                                       Unliquidated
          Tucker, GA 30084                                                      Disputed
          Date(s) debt was incurred                                          Basis for the claim: Trade debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.19     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $719.96
          Atlanta Technology Services
                                                                                Contingent
          1152 Grassmeade Way                                                   Unliquidated
          Snellville, GA 30078                                                  Disputed
          Date(s) debt was incurred                                          Basis for the claim: Trade debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.20     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $56.65
          Aviall
                                                                                Contingent
          2750 Regent Blvd                                                      Unliquidated
          Dallas, TX 75261                                                      Disputed
          Date(s) debt was incurred                                          Basis for the claim: Trade debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.21     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $37,427.02
          Avibank Manufacturing Inc
                                                                                Contingent
          29312 Network Place                                                   Unliquidated
          Chicago, IL 60673-1293                                                Disputed
          Date(s) debt was incurred                                          Basis for the claim: Trade debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 5 of 19
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                                                                                                                                                          11/30/23 4:15 PM
             Case 23-61841-jwc                       Doc 1            Filed 11/30/23 Entered 11/30/23 16:18:43                                     Desc Main
                                                                     Document      Page 26 of 68
 Debtor       Quality Aircraft Tooling Inc                                                            Case number (if known)
              Name

 3.22     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $526.41
          AWC Atl
                                                                                Contingent
          PO Box 974800                                                         Unliquidated
          75397-4800                                                            Disputed
          Date(s) debt was incurred                                          Basis for the claim: Trade debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.23     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $10.80
          B&B Aircraft Supplies
                                                                                Contingent
          617 Pacific Ave                                                       Unliquidated
          Osawatomie, KS 66064                                                  Disputed
          Date(s) debt was incurred                                          Basis for the claim: Trade debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.24     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $9,324.12
          Bibb Controls Systems
                                                                                Contingent
          2909 Lanier Heights Rd                                                Unliquidated
          Macon, GA 31217                                                       Disputed
          Date(s) debt was incurred                                          Basis for the claim: Trade debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.25     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,000.00
          Birnbrey, Minsk, Minsk & Perling LLC
          1801 Peachtree St NE
                                                                                Contingent
          Suite 300                                                             Unliquidated
          Atlanta, GA 30309-1815                                                Disputed
          Date(s) debt was incurred                                          Basis for the claim: accounting services
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.26     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Boeing Commercial Airplanes
                                                                                Contingent
          PO Box 3707                                                           Unliquidated
          Seattle, WA 98124-2207                                                Disputed
          Date(s) debt was incurred                                          Basis for the claim:    royalty payments
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.27     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $5,000.00
          Boeing Intellectual Property Licensing
                                                                                Contingent
          12090 Collections Center Dr                                           Unliquidated
          Chicago, IL 60693                                                     Disputed
          Date(s) debt was incurred                                          Basis for the claim: supplemental license agreement
          Last 4 digits of account number 7267                               Is the claim subject to offset?      No         Yes


 3.28     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $5,176.50
          Bowstone
                                                                                Contingent
          150 Christa Ct                                                        Unliquidated
          Ball Ground, GA 30107                                                 Disputed
          Date(s) debt was incurred                                          Basis for the claim: Trade debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.29     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $35,773.00
          Capital Express Inc.
          405 Lexington Ave
                                                                                Contingent
          Suite 900                                                             Unliquidated
          New York, NY 10174                                                    Disputed
          Date(s) debt was incurred                                          Basis for the claim: MCA-no collateral listed on UCC
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes



Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 6 of 19
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                                                                                                                                                          11/30/23 4:15 PM
             Case 23-61841-jwc                       Doc 1            Filed 11/30/23 Entered 11/30/23 16:18:43                                     Desc Main
                                                                     Document      Page 27 of 68
 Debtor       Quality Aircraft Tooling Inc                                                            Case number (if known)
              Name

 3.30     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $220,159.38
          Capital Express LLC
                                                                                Contingent
          1161 Bedford Ave                                                      Unliquidated
          Brooklyn, NY 11216                                                    Disputed
          Date(s) debt was incurred                                          Basis for the claim: MCA -lawsuit
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.31     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $21,088.00
          Capital on Tap
                                                                                Contingent
          675 Ponce de Leon #8500                                               Unliquidated
          Atlanta, GA 30308                                                     Disputed
          Date(s) debt was incurred                                          Basis for the claim: Credit card purchases
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.32     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          CB2 Resources LLC
          455 Lincoln Pkwy E
                                                                                Contingent
          Suite 550                                                             Unliquidated
          Atlanta, GA 30346                                                     Disputed
          Date(s) debt was incurred                                          Basis for the claim: collections
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.33     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,079.41
          Cintas
          FAS Lockbox 636525
                                                                                Contingent
          PO Box 636525                                                         Unliquidated
          Cincinnati, OH 45263-6525                                             Disputed
          Date(s) debt was incurred                                          Basis for the claim: Trade debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.34     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,636.00
          Circle A Fences
                                                                                Contingent
          1589 Canton Rd                                                        Unliquidated
          Marietta, GA 30066                                                    Disputed
          Date(s) debt was incurred                                          Basis for the claim: Trade debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.35     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $4,756.10
          Circle Valve Technologies Inc
                                                                                Contingent
          1533 Gemma                                                            Unliquidated
          Harleysville, PA 19438                                                Disputed
          Date(s) debt was incurred                                          Basis for the claim: Trade debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.36     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $8,500.00
          Cobb Tool Inc
                                                                                Contingent
          5886 Dodgen Rd SW                                                     Unliquidated
          Mableton, GA 30126                                                    Disputed
          Date(s) debt was incurred                                          Basis for the claim: Trade debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.37     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $434.30
          Colliflower Hose & Fittings
                                                                                Contingent
          1890 West Oak Pkwy                                                    Unliquidated
          Marietta, GA 30062                                                    Disputed
          Date(s) debt was incurred                                          Basis for the claim: Trade debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes



Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 7 of 19
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                                                                                                                                                          11/30/23 4:15 PM
             Case 23-61841-jwc                       Doc 1            Filed 11/30/23 Entered 11/30/23 16:18:43                                     Desc Main
                                                                     Document      Page 28 of 68
 Debtor       Quality Aircraft Tooling Inc                                                            Case number (if known)
              Name

 3.38     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $43,486.50
          Crestwood Financial Group
          One Odell Plaza
                                                                                Contingent
          Suite 139                                                             Unliquidated
          Yonkers, NY 10701                                                     Disputed
          Date(s) debt was incurred                                          Basis for the claim: agreement
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.39     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $127.50
          DB Roberts Company
          Box 405026
                                                                                Contingent
          6000 Feldwood Rd                                                      Unliquidated
          Atlanta, GA 30349                                                     Disputed
          Date(s) debt was incurred                                          Basis for the claim: Trade debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.40     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $72.15
          Digi-Key
                                                                                Contingent
          701 Brooks Ave South                                                  Unliquidated
          Thief River Falls, MN 56701                                           Disputed
          Date(s) debt was incurred                                          Basis for the claim: Trade debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.41     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Don Leviton
          One Pierce Place
                                                                                Contingent
          Suite 725W                                                            Unliquidated
          Itasca, IL 60143                                                      Disputed
          Date(s) debt was incurred                                          Basis for the claim: collections
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.42     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,100.00
          E3 Welding
                                                                                Contingent
          4329 Highborne Dr NE                                                  Unliquidated
          Marietta, GA 30066                                                    Disputed
          Date(s) debt was incurred                                          Basis for the claim: Trade debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.43     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $58.00
          eBay
                                                                                Contingent
          2025 Hamilton Ave                                                     Unliquidated
          San Jose, CA 95125                                                    Disputed
          Date(s) debt was incurred                                          Basis for the claim: Trade debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.44     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $908.61
          ECAS LLC
                                                                                Contingent
          399 East Dr                                                           Unliquidated
          Melbourne, FL 32904                                                   Disputed
          Date(s) debt was incurred                                          Basis for the claim: Trade debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.45     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $225.00
          EDM Technologies Inc
                                                                                Contingent
          325 Bell Park Dr                                                      Unliquidated
          Woodstock, GA 30188                                                   Disputed
          Date(s) debt was incurred                                          Basis for the claim: Trade debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 8 of 19
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                                                                                                                                                          11/30/23 4:15 PM
             Case 23-61841-jwc                       Doc 1            Filed 11/30/23 Entered 11/30/23 16:18:43                                     Desc Main
                                                                     Document      Page 29 of 68
 Debtor       Quality Aircraft Tooling Inc                                                            Case number (if known)
              Name

 3.46     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,979.35
          EnviroServe Chemicals Inc
                                                                                Contingent
          603 South Wilson Ave                                                  Unliquidated
          Dunn, NC 28334                                                        Disputed
          Date(s) debt was incurred                                          Basis for the claim: Trade debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.47     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $70.00
          eSheaves.com
                                                                                Contingent
          901 Industrial Blvd                                                   Unliquidated
          Naples, FL 34104                                                      Disputed
          Date(s) debt was incurred                                          Basis for the claim: Trade debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.48     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $41,500.32
          EURO Machine Building Co, Inc
                                                                                Contingent
          PO Box 2624                                                           Unliquidated
          Loganville, GA 30052                                                  Disputed
          Date(s) debt was incurred                                          Basis for the claim: Trade debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.49     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $9.93
          Fastenal
          2255 McCollum Pkwy
                                                                                Contingent
          Suite 400                                                             Unliquidated
          Kennesaw, GA 30144                                                    Disputed
          Date(s) debt was incurred                                          Basis for the claim: Trade debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.50     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $479.85
          FedEx International
                                                                                Contingent
          PO Box 660481                                                         Unliquidated
          Dallas, TX 75266-0481                                                 Disputed
          Date(s) debt was incurred                                          Basis for the claim: delivery services
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.51     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,534.27
          FLO-Control
                                                                                Contingent
          80 Center Dr                                                          Unliquidated
          Cartersville, GA 30121                                                Disputed
          Date(s) debt was incurred                                          Basis for the claim: Trade debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.52     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $4,417.20
          Ford Tool and Carbide
                                                                                Contingent
          PO Box 576                                                            Unliquidated
          Birmingham, AL 35201                                                  Disputed
          Date(s) debt was incurred                                          Basis for the claim: Trade debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.53     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,700.00
          Fredrick-Shelton & Associates Inc
                                                                                Contingent
          PO Box 1405                                                           Unliquidated
          Suwanee, GA 30024                                                     Disputed
          Date(s) debt was incurred                                          Basis for the claim: Trade debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 9 of 19
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                                                                                                                                                          11/30/23 4:15 PM
             Case 23-61841-jwc                       Doc 1            Filed 11/30/23 Entered 11/30/23 16:18:43                                     Desc Main
                                                                     Document      Page 30 of 68
 Debtor       Quality Aircraft Tooling Inc                                                            Case number (if known)
              Name

 3.54     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $59,122.00
          HFH RG Funding
                                                                                Contingent
          1876 Lakewood Rd #7                                                   Unliquidated
          Toms River, NJ 08755                                                  Disputed
          Date(s) debt was incurred 2023.4                                   Basis for the claim: MCA
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.55     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $850.90
          Home Depot
                                                                                Contingent
          449 Roberts Ct NW                                                     Unliquidated
          Kennesaw, GA 30144                                                    Disputed
          Date(s) debt was incurred                                          Basis for the claim: Credit card purchases
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.56     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $95.52
          Hose Warehouse/Murdock Industrial Inc
                                                                                Contingent
          553 Carroll St                                                        Unliquidated
          Akron, OH 44304                                                       Disputed
          Date(s) debt was incurred                                          Basis for the claim: Trade debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.57     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $11,632.47
          Hydradyne LLC
                                                                                Contingent
          PO Box 974799                                                         Unliquidated
          Dallas, TX 75397                                                      Disputed
          Date(s) debt was incurred                                          Basis for the claim: Trade debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.58     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $300.00
          Hydraflow
                                                                                Contingent
          1881 W Malvern                                                        Unliquidated
          Fullerton, CA 92833                                                   Disputed
          Date(s) debt was incurred                                          Basis for the claim: Trade debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.59     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $31,140.00
          Jergens, Inc
                                                                                Contingent
          15700 South Waterloo Rd                                               Unliquidated
          Cleveland, OH 44110                                                   Disputed
          Date(s) debt was incurred                                          Basis for the claim: Trade debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.60     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $12,040.45
          Johnston Integration Tech
                                                                                Contingent
          10703 W Seminole St                                                   Unliquidated
          Tulsa, OK 74115                                                       Disputed
          Date(s) debt was incurred                                          Basis for the claim: Trade debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.61     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $6,500.00
          Joyce Dayton Corp
                                                                                Contingent
          3300?South?Dixie Dr                                                   Unliquidated
          Dayton, OH 45439                                                      Disputed
          Date(s) debt was incurred                                          Basis for the claim: Trade debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 10 of 19
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                                                                                                                                                          11/30/23 4:15 PM
             Case 23-61841-jwc                       Doc 1            Filed 11/30/23 Entered 11/30/23 16:18:43                                     Desc Main
                                                                     Document      Page 31 of 68
 Debtor       Quality Aircraft Tooling Inc                                                            Case number (if known)
              Name

 3.62     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $44,812.00
          JPMorgan Chase- Visa
                                                                                Contingent
          270 Park Ave, Fl 12                                                   Unliquidated
          New York, NY 10017                                                    Disputed
          Date(s) debt was incurred                                          Basis for the claim: Credit card purchases
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.63     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,630.00
          Julia Scallion
                                                                                Contingent
          20717 Tuolumne Rd N                                                   Unliquidated
          Tuolumne, CA 95379                                                    Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.64     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $590.00
          Kaizen Solutions-Top Brass
                                                                                Contingent
          PO Box 7067                                                           Unliquidated
          Lees Summit, MO 64064                                                 Disputed
          Date(s) debt was incurred                                          Basis for the claim: Trade debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.65     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $79,360.00
          Kapitus
          2500 Wilson Blvd
                                                                                Contingent
          Suite 350                                                             Unliquidated
          Arlington, VA 22201                                                   Disputed
          Date(s) debt was incurred                                          Basis for the claim: MCA-UCC expired 7.2.23
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.66     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $200.00
          Keith Mitchell
                                                                                Contingent
          2322 Westland Way                                                     Unliquidated
          Acworth, GA 30102                                                     Disputed
          Date(s) debt was incurred                                          Basis for the claim: Trade debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.67     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $19,464.00
          Marcus by Goldman Sachs
          Goldman Sachs Bank USA
                                                                                Contingent
          PO?box?70379                                                          Unliquidated
          Philadelphia, PA 19176-0379                                           Disputed
          Date(s) debt was incurred                                          Basis for the claim: Credit card purchases
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.68     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,851.95
          Marietta Power
                                                                                Contingent
          PO Box 609                                                            Unliquidated
          Marietta, GA 30061                                                    Disputed
          Date(s) debt was incurred                                          Basis for the claim: utility
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.69     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,164.00
          May Technology and Mfg, Inc
                                                                                Contingent
          2922 Wheeling Ave                                                     Unliquidated
          Kansas City, MO 64129                                                 Disputed
          Date(s) debt was incurred                                          Basis for the claim: Trade debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes



Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 11 of 19
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                                                                                                                                                          11/30/23 4:15 PM
             Case 23-61841-jwc                       Doc 1            Filed 11/30/23 Entered 11/30/23 16:18:43                                     Desc Main
                                                                     Document      Page 32 of 68
 Debtor       Quality Aircraft Tooling Inc                                                            Case number (if known)
              Name

 3.70     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $6,145.42
          McMaster-Carr
                                                                                Contingent
          PO Box 7690                                                           Unliquidated
          Chicago, IL 60680                                                     Disputed
          Date(s) debt was incurred                                          Basis for the claim: Trade debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.71     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $46,500.00
          McNeel Family Limited Partnership
          c/o Rozen Rozen & Reilly, LLP
          248 Roswell St, SE
                                                                                Contingent
          Suite 100                                                             Unliquidated
          Marietta, GA 30060                                                    Disputed
          Date(s) debt was incurred                                          Basis for the claim: lease-lawsuit
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.72     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $345.84
          Metal Supermarkets
          1000 Williams Dr
                                                                                Contingent
          Suite 1012                                                            Unliquidated
          Marietta, GA 30066                                                    Disputed
          Date(s) debt was incurred                                          Basis for the claim: Trade debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.73     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $7,110.00
          Mink's Fabrication
                                                                                Contingent
          150 Oak Blackberry Trail                                              Unliquidated
          Canton, GA 30114                                                      Disputed
          Date(s) debt was incurred                                          Basis for the claim: Trade debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.74     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,401.40
          Modus Advanced Inc
                                                                                Contingent
          1575 Greenville Rd                                                    Unliquidated
          Livermore, CA 94550                                                   Disputed
          Date(s) debt was incurred                                          Basis for the claim: Trade debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.75     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,316.62
          Mohawk Rubber
                                                                                Contingent
          PO Box 735219                                                         Unliquidated
          Chicago, IL 60673-5219                                                Disputed
          Date(s) debt was incurred                                          Basis for the claim: Trade debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.76     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $38,962.82
          Morgan Aero Products
                                                                                Contingent
          1450 80th St SW                                                       Unliquidated
          Everett, WA 98203                                                     Disputed
          Date(s) debt was incurred                                          Basis for the claim: Trade debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.77     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $9,668.85
          Motion Industries
                                                                                Contingent
          1605 Alton Rd                                                         Unliquidated
          Birmingham, AL 35210                                                  Disputed
          Date(s) debt was incurred                                          Basis for the claim: Trade debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 12 of 19
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                                                                                                                                                          11/30/23 4:15 PM
             Case 23-61841-jwc                       Doc 1            Filed 11/30/23 Entered 11/30/23 16:18:43                                     Desc Main
                                                                     Document      Page 33 of 68
 Debtor       Quality Aircraft Tooling Inc                                                            Case number (if known)
              Name

 3.78     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $33,707.50
          MSC Industrial Supply
                                                                                Contingent
          PO Box 953635                                                         Unliquidated
          Saint Louis, MO 63195-3635                                            Disputed
          Date(s) debt was incurred                                          Basis for the claim: Trade debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.79     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,881.35
          Nameplates Inc
                                                                                Contingent
          PO Box 4608                                                           Unliquidated
          Tulsa, OK 74159                                                       Disputed
          Date(s) debt was incurred                                          Basis for the claim: Trade debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.80     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $14,739.00
          Nav-Aids
          2955 Diab Street
                                                                                Contingent
          Montreal, QC                                                          Unliquidated
          H4S 1M1 Canada                                                        Disputed
          Date(s) debt was incurred                                          Basis for the claim: Trade debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.81     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $645.08
          Newark/Element 14
                                                                                Contingent
          33190 Collection Center Drive                                         Unliquidated
          Chicago, IL 60693-0331                                                Disputed
          Date(s) debt was incurred                                          Basis for the claim: Trade debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.82     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,119.34
          NexAir
                                                                                Contingent
          PO Box 125                                                            Unliquidated
          Memphis, TN 38101                                                     Disputed
          Date(s) debt was incurred                                          Basis for the claim: Trade debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.83     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,299.94
          Olympic Case Company
          9110 King Palm Drive
                                                                                Contingent
          Suite 101                                                             Unliquidated
          Tampa, FL 33619                                                       Disputed
          Date(s) debt was incurred                                          Basis for the claim: Trade debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.84     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $62.14
          Omega Technologies
          31125 Via Colinas
                                                                                Contingent
          Suite 905                                                             Unliquidated
          Thousand Oaks, CA 91362                                               Disputed
          Date(s) debt was incurred                                          Basis for the claim: Trade debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.85     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $159.90
          Online Carbide
                                                                                Contingent
          438 West Railroad Ave                                                 Unliquidated
          Batesburg, SC 29006                                                   Disputed
          Date(s) debt was incurred                                          Basis for the claim: Trade debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 13 of 19
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                                                                                                                                                          11/30/23 4:15 PM
             Case 23-61841-jwc                       Doc 1            Filed 11/30/23 Entered 11/30/23 16:18:43                                     Desc Main
                                                                     Document      Page 34 of 68
 Debtor       Quality Aircraft Tooling Inc                                                            Case number (if known)
              Name

 3.86     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $750.84
          OnlineMetals.com
                                                                                Contingent
          PO Box 894118                                                         Unliquidated
          Los Angeles, CA 90189-4118                                            Disputed
          Date(s) debt was incurred                                          Basis for the claim: Trade debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.87     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $289.00
          Orkin
          1007 Mansell Rd
                                                                                Contingent
          Suite E                                                               Unliquidated
          Roswell, GA 30076                                                     Disputed
          Date(s) debt was incurred                                          Basis for the claim: pest control
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.88     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,700.00
          Oscar Health Inc
                                                                                Contingent
          75 Varick St, 5th floor                                               Unliquidated
          New York, NY 10013                                                    Disputed
          Date(s) debt was incurred                                          Basis for the claim: Cigna health insurance
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.89     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $5,480.15
          OSHCUT LLC
                                                                                Contingent
          165 N 1330 W #C4                                                      Unliquidated
          Orem, UT 84057                                                        Disputed
          Date(s) debt was incurred                                          Basis for the claim: Trade debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.90     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $9,268.00
          Plano Molding
                                                                                Contingent
          431 E South St                                                        Unliquidated
          Plano, IL 60545                                                       Disputed
          Date(s) debt was incurred                                          Basis for the claim: Trade debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.91     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,529.90
          PSI-Tronix
          Force Switch Corp
                                                                                Contingent
          PO Box 3503                                                           Unliquidated
          San Dimas, CA 91773                                                   Disputed
          Date(s) debt was incurred                                          Basis for the claim: Trade debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.92     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $131.90
          Quench USA Inc
          630 Allendale Rd
                                                                                Contingent
          Suite 200                                                             Unliquidated
          King of Prussia, PA 19406                                             Disputed
          Date(s) debt was incurred                                          Basis for the claim: Trade debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 14 of 19
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                                                                                                                                                          11/30/23 4:15 PM
             Case 23-61841-jwc                       Doc 1            Filed 11/30/23 Entered 11/30/23 16:18:43                                     Desc Main
                                                                     Document      Page 35 of 68
 Debtor       Quality Aircraft Tooling Inc                                                            Case number (if known)
              Name

 3.93     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $58.01
          Reid Supply
          1269 E Mount Garfield Rd
                                                                                Contingent
          Suite E                                                               Unliquidated
          Muskegon, MI 49441                                                    Disputed
          Date(s) debt was incurred                                          Basis for the claim: Trade debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.94     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $597,780.00
          Rhonda & Ivan Kahn
                                                                                Contingent
          2620 Hill Gate Ct                                                     Unliquidated
          Snellville, GA 30039                                                  Disputed
          Date(s) debt was incurred                                          Basis for the claim: loans to business
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.95     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $234.50
          RiggingWarehouses.com
                                                                                Contingent
          1 Tomsons Rd #100                                                     Unliquidated
          Saugerties, NY 12477                                                  Disputed
          Date(s) debt was incurred                                          Basis for the claim: Trade debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.96     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,628.01
          Road Runner Recycling
                                                                                Contingent
          PO Box 6011                                                           Unliquidated
          Hermitage, PA 16148                                                   Disputed
          Date(s) debt was incurred                                          Basis for the claim: recycling
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.97     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $168,413.60
          Safran Landing Systems
          Inovel Parc
          Sud 7
                                                                                Contingent
          Rue General Valerie Andree                                            Unliquidated
          78140 Velizy Villacoublay France                                      Disputed
          Date(s) debt was incurred                                          Basis for the claim: Trade debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.98     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $41,480.16
          Satair USA, Inc
                                                                                Contingent
          PO Box 74008759                                                       Unliquidated
          Chicago, IL 60674-8759                                                Disputed
          Date(s) debt was incurred                                          Basis for the claim: Trade debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.99     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,891.21
          SCANA Energy
                                                                                Contingent
          PO Box 105046                                                         Unliquidated
          Atlanta, GA 30348-5046                                                Disputed
          Date(s) debt was incurred                                          Basis for the claim: utility
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 15 of 19
Software Copyright (c) 1996-2023 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
                                                                                                                                                          11/30/23 4:15 PM
             Case 23-61841-jwc                       Doc 1            Filed 11/30/23 Entered 11/30/23 16:18:43                                     Desc Main
                                                                     Document      Page 36 of 68
 Debtor       Quality Aircraft Tooling Inc                                                            Case number (if known)
              Name

 3.100    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $4,873.56
          Seal Dynamics
          Attn; Accounting
                                                                                Contingent
          2 Adams Ave                                                           Unliquidated
          Hauppauge, NY 11788                                                   Disputed
          Date(s) debt was incurred                                          Basis for the claim: Trade debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.101    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $420.00
          Service Steel Aerospace
                                                                                Contingent
          3359 Bruening Cir SW                                                  Unliquidated
          Canton, OH 44706                                                      Disputed
          Date(s) debt was incurred                                          Basis for the claim: Trade debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.102    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $161.63
          SkyGeek
                                                                                Contingent
          30 Airway Dr                                                          Unliquidated
          Lagrangeville, NY 12540                                               Disputed
          Date(s) debt was incurred                                          Basis for the claim: Trade debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.103    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $6,873.12
          Snap-On
                                                                                Contingent
          1461 Field Park Circle                                                Unliquidated
          Marietta, GA 30060                                                    Disputed
          Date(s) debt was incurred                                          Basis for the claim: Trade debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.104    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,592.42
          Southern Tool Steel
                                                                                Contingent
          PO Box 731036                                                         Unliquidated
          Dallas, TX 75373-1036                                                 Disputed
          Date(s) debt was incurred                                          Basis for the claim: Trade debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.105    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $15,300.00
          Speed Machine, LLC
                                                                                Contingent
          3348 Hogansville Rd                                                   Unliquidated
          Lagrange, GA 30241                                                    Disputed
          Date(s) debt was incurred                                          Basis for the claim: Trade debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.106    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $17.07
          Spencer Aircraft
          16911 103rd Ave
                                                                                Contingent
          Ste 102                                                               Unliquidated
          Puyallup, WA 98374                                                    Disputed
          Date(s) debt was incurred                                          Basis for the claim: Trade debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.107    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $299.00
          Staples Business Advantage
                                                                                Contingent
          PO Box 405386                                                         Unliquidated
          Atlanta, GA 30348-5386                                                Disputed
          Date(s) debt was incurred                                          Basis for the claim: supplies
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes



Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 16 of 19
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                                                                                                                                                          11/30/23 4:15 PM
             Case 23-61841-jwc                       Doc 1            Filed 11/30/23 Entered 11/30/23 16:18:43                                     Desc Main
                                                                     Document      Page 37 of 68
 Debtor       Quality Aircraft Tooling Inc                                                            Case number (if known)
              Name

 3.108    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,147.50
          Swagelok
                                                                                Contingent
          PO Box 746832                                                         Unliquidated
          Atlanta, GA 30374-6832                                                Disputed
          Date(s) debt was incurred                                          Basis for the claim: Trade debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.109    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $19,253.33
          Tax Credit Co, LLC
                                                                                Contingent
          PO Box 841971                                                         Unliquidated
          Los Angeles, CA 90084-1971                                            Disputed
          Date(s) debt was incurred                                          Basis for the claim: Trade debt
          Last 4 digits of account number 8975                               Is the claim subject to offset?      No         Yes


 3.110    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $373.05
          Thomson Industries
                                                                                Contingent
          48767 Kato Rd                                                         Unliquidated
          Fremont, CA 94538                                                     Disputed
          Date(s) debt was incurred                                          Basis for the claim: Trade debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.111    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $30.19
          Threads for the South
                                                                                Contingent
          1076 King Industrial Dr                                               Unliquidated
          Marietta, GA 30062                                                    Disputed
          Date(s) debt was incurred                                          Basis for the claim: Trade debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.112    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,104.10
          ToolSource.com
                                                                                Contingent
          PO Box 149                                                            Unliquidated
          Salamanca, NY 14779                                                   Disputed
          Date(s) debt was incurred                                          Basis for the claim: Trade debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.113    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $108,808.00
          Truist Card Services
                                                                                Contingent
          PO Box 200                                                            Unliquidated
          Wilson, NC 27894-0200                                                 Disputed
          Date(s) debt was incurred                                          Basis for the claim: Credit card purchases
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.114    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $70.48
          Uline
          Attn Accounts Receivables
                                                                                Contingent
          PO Box 88741                                                          Unliquidated
          Chicago, IL 60680-1741                                                Disputed
          Date(s) debt was incurred                                          Basis for the claim: supplies
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.115    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,329.00
          United Metalcraft
                                                                                Contingent
          1215 Hayes Industrial Dr                                              Unliquidated
          Marietta, GA 30062                                                    Disputed
          Date(s) debt was incurred                                          Basis for the claim: Trade debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 17 of 19
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             Case 23-61841-jwc                       Doc 1            Filed 11/30/23 Entered 11/30/23 16:18:43                                     Desc Main
                                                                     Document      Page 38 of 68
 Debtor       Quality Aircraft Tooling Inc                                                            Case number (if known)
              Name

 3.116     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.               $6,542.33
           UPS
                                                                                Contingent
           PO Box 7247-0244                                                     Unliquidated
           Philadelphia, PA 19170                                               Disputed
           Date(s) debt was incurred                                         Basis for the claim: delivery services
           Last 4 digits of account number                                   Is the claim subject to offset?       No        Yes


 3.117     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.               $3,866.22
           Vallen Distribution Inc
                                                                                Contingent
           PO Box 404753                                                        Unliquidated
           Atlanta, GA 30384-4753                                               Disputed
           Date(s) debt was incurred                                         Basis for the claim: Trade debt
           Last 4 digits of account number                                   Is the claim subject to offset?       No        Yes


 3.118     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $244.00
           Velmex
                                                                                Contingent
           7550 State Route 5 & 20                                              Unliquidated
           Bloomfield, NY 14469                                                 Disputed
           Date(s) debt was incurred                                         Basis for the claim: Trade debt
           Last 4 digits of account number                                   Is the claim subject to offset?       No        Yes


 3.119     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                     $79.70
           Worthco
                                                                                Contingent
           PO Box 88                                                            Unliquidated
           Stevens Point, WI 54481                                              Disputed
           Date(s) debt was incurred                                         Basis for the claim: Trade debt
           Last 4 digits of account number                                   Is the claim subject to offset?       No        Yes


 3.120     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.               $1,860.00
           Yardstore
                                                                                Contingent
           725 E Central                                                        Unliquidated
           Wichita, KS 67201                                                    Disputed
           Date(s) debt was incurred                                         Basis for the claim: Trade debt
           Last 4 digits of account number                                   Is the claim subject to offset?       No        Yes


 3.121     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                      $0.01
           Zoro Tools
                                                                                Contingent
           PO Box 5233                                                          Unliquidated
           Janesville, WI 53547-5233                                            Disputed
           Date(s) debt was incurred                                         Basis for the claim: Trade debt
           Last 4 digits of account number                                   Is the claim subject to offset?       No        Yes



 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the        Last 4 digits of
                                                                                                      related creditor (if any) listed?              account number, if
                                                                                                                                                     any
 4.1       Caine & Weiner
           5805 Sepulveda Blvd                                                                        Line     3.70
           4th floor
                                                                                                             Not listed. Explain
           Van Nuys, CA 91411




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 18 of 19
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              Case 23-61841-jwc                      Doc 1            Filed 11/30/23 Entered 11/30/23 16:18:43                                Desc Main
                                                                     Document      Page 39 of 68
 Debtor        Quality Aircraft Tooling Inc                                                      Case number (if known)
               Name

            Name and mailing address                                                             On which line in Part1 or Part 2 is the        Last 4 digits of
                                                                                                 related creditor (if any) listed?              account number, if
                                                                                                                                                any
 4.2        David Fogel, Esq
            1225 Franklin Ave                                                                    Line     3.30
            Suite 201
                                                                                                        Not listed. Explain
            Garden City, NY 11530

 4.3        Elmore & Associates Inc
            3340 Peachtree Rd NE                                                                 Line     3.36
            Suite 1800
                                                                                                        Not listed. Explain
            Atlanta, GA 30326

 4.4        ESP Receivables Management Inc
            PO Box 1547                                                                          Line     3.24
            Mandeville, LA 70470
                                                                                                        Not listed. Explain

 4.5        Fluid Flow Products
            3915 Shorten Rd Ste 101                                                              Line     3.24
            Charlotte, NC 28217-3047
                                                                                                        Not listed. Explain

 4.6        Ngyuen/Ballato
            2201 Libbie Ave                                                                      Line     3.65
            Richmond, VA 23230
                                                                                                        Not listed. Explain

 4.7        Supersonic Funding
            1608 S Ashland Av                                                                    Line     3.65
            #35697
                                                                                                        Not listed. Explain
            Chicago, IL 60608


 Part 4:       Total Amounts of the Priority and Nonpriority Unsecured Claims

5.     Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                     Total of claim amounts
 5a. Total claims from Part 1                                                                       5a.          $                     98,852.12
 5b. Total claims from Part 2                                                                       5b.    +     $                  2,031,780.87

 5c. Total of Parts 1 and 2
        Lines 5a + 5b = 5c.                                                                         5c.          $                    2,130,632.99




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 19 of 19
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             Case 23-61841-jwc                       Doc 1            Filed 11/30/23 Entered 11/30/23 16:18:43                    Desc Main
                                                                     Document      Page 40 of 68
 Fill in this information to identify the case:

 Debtor name         Quality Aircraft Tooling Inc

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF GEORGIA

 Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.    Does the debtor have any executory contracts or unexpired leases?
          No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease

 2.1.        State what the contract or                   Supplemental license
             lease is for and the nature of               agreement
             the debtor's interest

                 State the term remaining
                                                                                       Boeing Intellectual Property Licensing
             List the contract number of any                                           12090 Collections Center Dr
                   government contract                                                 Chicago, IL 60693


 2.2.        State what the contract or                   server and component
             lease is for and the nature of               parts
             the debtor's interest

                 State the term remaining                 15 months
                                                                                       Macquarie Equipment Capital Inc
             List the contract number of any                                           1301 Riverplace Blvd
                   government contract                                                 Jacksonville, FL 32207


 2.3.        State what the contract or                   commercial lease (1048
             lease is for and the nature of               King Industrial Drive,
             the debtor's interest                        Marietta, GA)

                 State the term remaining                                              McNeel Family Limited Partnership
                                                                                       c/o Rozen Rozen & Reilly, LLP
             List the contract number of any                                           248 Roswell St, SE
                   government contract                                                 Marietta, GA 30060


 2.4.        State what the contract or                   server and component
             lease is for and the nature of               parts
             the debtor's interest

                 State the term remaining                 49 months
                                                                                       Meridian Equipment Finance
             List the contract number of any                                           9 Lincoln Hwy
                   government contract                                                 Malvern, PA 19355




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 2
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             Case 23-61841-jwc                       Doc 1            Filed 11/30/23 Entered 11/30/23 16:18:43            Desc Main
                                                                     Document      Page 41 of 68
 Debtor 1 Quality Aircraft Tooling Inc                                                       Case number (if known)
              First Name              Middle Name                    Last Name


            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.5.        State what the contract or                   server and component
             lease is for and the nature of               parts
             the debtor's interest

                 State the term remaining                 18 months                  TCF
                                                                                     11100 Wayzata Blvd
             List the contract number of any                                         Suite 801
                   government contract                                               Hopkins, MN 55305




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                    Page 2 of 2
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             Case 23-61841-jwc                       Doc 1            Filed 11/30/23 Entered 11/30/23 16:18:43                Desc Main
                                                                     Document      Page 42 of 68
 Fill in this information to identify the case:

 Debtor name         Quality Aircraft Tooling Inc

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF GEORGIA

 Case number (if known)
                                                                                                                               Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                        12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
    Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor


               Name                            Mailing Address                                    Name                          Check all schedules
                                                                                                                                that apply:
     2.6     AIM27 Inc                         2620 Hill Gate Ct                                  Atlantic Capital Bank             D   2.1
                                               Snellville, GA                                                                       E/F
                                                                                                                                    G



     2.7     AIM27 Inc                         2620 Hill Gate Ct                                  Atlantic Capital Bank             D   2.2
                                               Snellville, GA                                                                       E/F
                                                                                                                                    G



     2.8     AIM27 Inc                         2620 Hill Gate Ct                                  Atlantic Capital Bank             D   2.3
                                               Snellville, GA                                                                       E/F
                                                                                                                                    G



     2.9     Ivan Kahn                         2620 Hill Gate Ct                                  Atlantic Capital Bank             D   2.1
                                               Snellville, GA                                                                       E/F
                                                                                                                                    G



             Ivan Kahn                         2620 Hill Gate Ct                                  TCF                               D   2.10
    2.10                                       Snellville, GA                                                                       E/F
                                                                                                                                    G



             Ivan Kahn                         2620 Hill Gate Ct                                  Atlantic Capital Bank             D   2.2
    2.11                                       Snellville, GA                                                                       E/F
                                                                                                                                    G




Official Form 206H                                                            Schedule H: Your Codebtors                                       Page 1 of 3
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             Case 23-61841-jwc                       Doc 1            Filed 11/30/23 Entered 11/30/23 16:18:43            Desc Main
                                                                     Document      Page 43 of 68
 Debtor       Quality Aircraft Tooling Inc                                                   Case number (if known)


            Additional Page to List More Codebtors
           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
            Column 1: Codebtor                                                         Column 2: Creditor

             Ivan Kahn                         2620 Hill Gate Ct                                  Atlantic Capital Bank      D   2.3
    2.12                                       Snellville, GA                                                                E/F
                                                                                                                             G



             Rhonda Kahn                       2620 Hill Gate Ct                                  Capital Express LLC        D
    2.13                                       Snellville, GA 30039                                                          E/F       3.30
                                                                                                                             G



             Rhonda Kahn                       2620 Hill Gate Ct                                  Green Note Capital         D   2.4
    2.14                                       Snellville, GA 30039                               Partners                   E/F
                                                                                                                             G



             Rhonda Kahn                       2620 Hill Gate Ct                                  Kapitus                    D
    2.15                                       Snellville, GA 30039                                                          E/F       3.65
                                                                                                                             G



             Rhonda Kahn                       2620 Hill Gate Ct                                  Capital Express Inc.       D
    2.16                                       Snellville, GA 30039                                                          E/F       3.29
                                                                                                                             G



             Rhonda Kahn                       2620 Hill Gate Ct                                  Knightsbridge Funding      D   2.6
    2.17                                       Snellville, GA 30039                               LLC                        E/F
                                                                                                                             G



             Rhonda Kahn                       2620 Hill Gate Ct                                  HFH RG Funding             D
    2.18                                       Snellville, GA 30039                                                          E/F       3.54
                                                                                                                             G



             Rhonda Kahn                       2620 Hill Gate Ct                                  Atlantic Capital Bank      D   2.1
    2.19                                       Snellville, GA 30039                                                          E/F
                                                                                                                             G



             Rhonda Kahn                       2620 Hill Gate Ct                                  TCF                        D   2.10
    2.20                                       Snellville, GA 30039                                                          E/F
                                                                                                                             G



             Rhonda Kahn                       2620 Hill Gate Ct                                  Meridian Equipment         D   2.8
    2.21                                       Snellville, GA 30039                               Finance                    E/F
                                                                                                                             G




Official Form 206H                                                            Schedule H: Your Codebtors                               Page 2 of 3
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             Case 23-61841-jwc                       Doc 1            Filed 11/30/23 Entered 11/30/23 16:18:43            Desc Main
                                                                     Document      Page 44 of 68
 Debtor       Quality Aircraft Tooling Inc                                                   Case number (if known)


            Additional Page to List More Codebtors
           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
            Column 1: Codebtor                                                         Column 2: Creditor

             Rhonda Kahn                       2620 Hill Gate Ct                                  Atlantic Capital Bank      D   2.2
    2.22                                       Snellville, GA 30039                                                          E/F
                                                                                                                             G



             Rhonda Kahn                       2620 Hill Gate Ct                                  Atlantic Capital Bank      D   2.3
    2.23                                       Snellville, GA 30039                                                          E/F
                                                                                                                             G



             Ivan Kahn                         2620 Hill Gate Ct                                  TCF                        D
    2.24                                       Snellville, GA                                                                E/F
                                                                                                                             G   2.5



             Rhonda Kahn                       2620 Hill Gate Ct                                  TCF                        D
    2.25                                       Snellville, GA 30039                                                          E/F
                                                                                                                             G   2.5



             Rhonda Kahn                       2620 Hill Gate Ct                                  Meridian Equipment         D
    2.26                                       Snellville, GA 30039                               Finance                    E/F
                                                                                                                             G   2.4




Official Form 206H                                                            Schedule H: Your Codebtors                            Page 3 of 3
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                                                                                                                                               11/30/23 4:15 PM
             Case 23-61841-jwc                       Doc 1            Filed 11/30/23 Entered 11/30/23 16:18:43                     Desc Main
                                                                     Document      Page 45 of 68



 Fill in this information to identify the case:

 Debtor name         Quality Aircraft Tooling Inc

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF GEORGIA

 Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                 04/22
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

           None.

       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                  Gross revenue
       which may be a calendar year                                                            Check all that apply                (before deductions and
                                                                                                                                   exclusions)

       From the beginning of the fiscal year to filing date:                                       Operating a business                         $26,746.00
       From 05/01/2023 to Filing Date
                                                                                                   Other


       For prior year:                                                                             Operating a business                     $1,623,988.00
       From 05/01/2022 to 04/30/2023
                                                                                                   Other


       For year before that:                                                                       Operating a business                     $2,109,024.00
       From 01/01/2021 to 12/31/2021
                                                                                                   Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

           None.

                                                                                               Description of sources of revenue   Gross revenue from
                                                                                                                                   each source
                                                                                                                                   (before deductions and
                                                                                                                                   exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                             page 1

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              Case 23-61841-jwc                      Doc 1            Filed 11/30/23 Entered 11/30/23 16:18:43                                Desc Main
                                                                     Document      Page 46 of 68
 Debtor       Quality Aircraft Tooling Inc                                                               Case number (if known)




          None.

       Creditor's Name and Address                                         Dates                   Total amount of value         Reasons for payment or transfer
                                                                                                                                 Check all that apply
       3.1.                                                                                                                           Secured debt
               Cigna Healthcare                                            Sept/Oct                           $8,500.00
                                                                           2023                                                       Unsecured loan repayments
                                                                                                                                      Suppliers or vendors
                                                                                                                                      Services
                                                                                                                                      Other health insurance



4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount
   may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

          None.

       Insider's name and address                                          Dates                   Total amount of value         Reasons for payment or transfer
       Relationship to debtor
       4.1.    Rhonda Kahn                                                                                  $26,610.00           repayment of money loaned to
               2620 Hill Gate Ct                                                                                                 business
               Snellville, GA
               President

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold
   at a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

          None

       Creditor's name and address                              Describe of the Property                                       Date                  Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

          None

       Creditor's name and address                              Description of the action creditor took                        Date action was                 Amount
                                                                                                                               taken
       Green Note Capital Partners                              funds held in account                                          11.21.23                  $106,820.70
       1019 Ave P, Suite 401                                    Last 4 digits of account number:     3286
       Brooklyn, NY 11223

       Green Note Capital Partners                              funds held                                                     11.21.23                  $106,815.46
       1019 Avenue P                                            Last 4 digits of account number:     5783
       Suite 401
       Brooklyn, NY 11223

       Green Note Capital Partners                              funds held                                                     11.21.23                   $82,850.38
       1019 Avenue P                                            Last 4 digits of account number:     9331
       Suite 401
       Brooklyn, NY 11223

       Green Note Capital Partners                              funds held                                                     11.21.23                  $105,217.21
       1019 Avenue P                                            Last 4 digits of account number:     9398
       Suite 401
       Brooklyn, NY 11223

Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                       page 2

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                                                                                                                                                     11/30/23 4:15 PM
              Case 23-61841-jwc                      Doc 1            Filed 11/30/23 Entered 11/30/23 16:18:43                           Desc Main
                                                                     Document      Page 47 of 68
 Debtor       Quality Aircraft Tooling Inc                                                              Case number (if known)




 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

           None.

               Case title                                       Nature of case             Court or agency's name and            Status of case
               Case number                                                                 address
       7.1.    Green Note Capital Partners                      Civil                      Supreme Court of State of                   Pending
               SPV LLC v Quality Aircraft                                                  NY, County of Nassau                        On appeal
               Tooling, Inc dba Quality Aircraft                                                                                       Concluded
               Tooling and Rhonda G A Kahn
               2023-614399

       7.2.    Capital Express v Quality                        civil                      Supreme Court of NY County                  Pending
               Aircraft Tooling, Inc dba QAT                                               of Kings                                    On appeal
               and Rhonda Kahn                                                                                                         Concluded
               2023-512100

       7.3.    McNeel Family Limited                            Dispossessory              State Court of Cobb County                  Pending
               Partnership v Quality Aircraft                                                                                          On appeal
               Tooling, Inc and All Others                                                                                             Concluded
               23-D-362

       7.4.    SouthState Bank, NA successor                    Civil                      State Court of Gwinnett                     Pending
               by Merger with Atlantic Capital                                             County                                      On appeal
               Bank, NA                                                                                                                Concluded
               23-C-08332-S3

       7.5.    Kapitus Servicing, Inc v Quality                 Civil                      Circuit Court of the City of                Pending
               Aircraft Tooling, Inc dba Quality                                           Richmond, Virginia                          On appeal
               Aircraft Tooling/Aero Info and                                                                                          Concluded
               Rhonda Kahn


       7.6.    Flo Control Inc v Quality Aircraft               Civil                      Magistrate Court of Cobb                    Pending
               Tooling Inc                                                                 County                                      On appeal
               23-J-07408                                                                                                              Concluded


8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

           None


 Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

           None

               Recipient's name and address                     Description of the gifts or contributions                Dates given                          Value


 Part 5:      Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

           None




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 3

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             Case 23-61841-jwc                       Doc 1            Filed 11/30/23 Entered 11/30/23 16:18:43                             Desc Main
                                                                     Document      Page 48 of 68
 Debtor        Quality Aircraft Tooling Inc                                                                Case number (if known)



       Description of the property lost and                     Amount of payments received for the loss                   Dates of loss         Value of property
       how the loss occurred                                                                                                                                  lost
                                                                If you have received payments to cover the loss, for
                                                                example, from insurance, government compensation, or
                                                                tort liability, list the total received.

                                                                List unpaid claims on Official Form 106A/B (Schedule
                                                                A/B: Assets – Real and Personal Property).

 Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

           None.

                 Who was paid or who received                        If not money, describe any property transferred           Dates              Total amount or
                 the transfer?                                                                                                                             value
                 Address
       11.1.     The Falcone Law Firm, PC
                 363 Lawrence St NE
                 Marietta, GA 30060-2056                             Attorney Fee                                                                       $7,500.00

                 Email or website address
                 imf@falconefirm.com

                 Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

           None.

       Name of trust or device                                       Describe any property transferred                  Dates transfers           Total amount or
                                                                                                                        were made                          value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

           None.

                Who received transfer?                          Description of property transferred or                     Date transfer          Total amount or
                Address                                         payments received or debts paid in exchange                was made                        value
       13.1 Priceless Performance, LLC
       .                                                        Haas VF-2SS CNC Serial #1147042                            5.9.22                     $40,000.00

                Relationship to debtor
                none


  Part 7:      Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


           Does not apply

                 Address                                                                                                    Dates of occupancy
                                                                                                                            From-To

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             Case 23-61841-jwc                       Doc 1            Filed 11/30/23 Entered 11/30/23 16:18:43                            Desc Main
                                                                     Document      Page 49 of 68
 Debtor        Quality Aircraft Tooling Inc                                                             Case number (if known)



 Part 8:       Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

            No. Go to Part 9.
            Yes. Fill in the information below.

                 Facility name and address                      Nature of the business operation, including type of services            If debtor provides
                                                                the debtor provides                                                     meals and housing,
                                                                                                                                        number of patients in
                                                                                                                                        debtor’s care

 Part 9:       Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

            No.
            Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

            No. Go to Part 10.
            Yes. Does the debtor serve as plan administrator?

                       No Go to Part 10.
                       Yes. Fill in below:

 Part 10:      Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

           None
               Financial Institution name and                   Last 4 digits of          Type of account or           Date account was             Last balance
               Address                                          account number            instrument                   closed, sold,            before closing or
                                                                                                                       moved, or                         transfer
                                                                                                                       transferred
       18.1.     Chase                                          XXXX-2223                    Checking                  9.13.23                           $108.06
                 POB 182051                                                                  Savings
                 Columbus, OH 43218                                                          Money Market
                                                                                             Brokerage
                                                                                             Other

       18.2.     Chase                                          XXXX-9973                    Checking                  9.13.23                         $8,552.04
                 POB 182051                                                                  Savings
                 Columbus, OH 43218                                                          Money Market
                                                                                             Brokerage
                                                                                             Other


19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


           None

       Depository institution name and address                        Names of anyone with                Description of the contents            Does debtor
                                                                      access to it                                                               still have it?
                                                                      Address




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 5

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                                                                                                                                                  11/30/23 4:15 PM
             Case 23-61841-jwc                       Doc 1            Filed 11/30/23 Entered 11/30/23 16:18:43                          Desc Main
                                                                     Document      Page 50 of 68
 Debtor      Quality Aircraft Tooling Inc                                                               Case number (if known)



20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


          None

       Facility name and address                                      Names of anyone with                Description of the contents         Does debtor
                                                                      access to it                                                            still have it?
       Extra Space Storage                                            Rhonda and Ivan Kahn                accounting records                      No
       3942 US 78                                                                                                                                 Yes
       Snellville, GA 30039



 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

        None

       Owner's name and address                                       Location of the property            Describe the property                            Value
       Boeing Commercial Airplanes                                    1048 King Industrial Dr             proprietary property                        Unknown
       PO Box 3707                                                    Marietta, GA 30062                  manufacturer's drawings
       Seattle, WA 98124-2207


 Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No.
            Yes. Provide details below.

       Case title                                                     Court or agency name and            Nature of the case                  Status of case
       Case number                                                    address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

            No.
            Yes. Provide details below.

       Site name and address                                          Governmental unit name and              Environmental law, if known     Date of notice
                                                                      address

24. Has the debtor notified any governmental unit of any release of hazardous material?

            No.
            Yes. Provide details below.

       Site name and address                                          Governmental unit name and              Environmental law, if known     Date of notice
                                                                      address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                page 6

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                                                                                                                                                              11/30/23 4:15 PM
             Case 23-61841-jwc                       Doc 1            Filed 11/30/23 Entered 11/30/23 16:18:43                                Desc Main
                                                                     Document      Page 51 of 68
 Debtor      Quality Aircraft Tooling Inc                                                               Case number (if known)




25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

          None

    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed
    25.1.    Aero Info Inc                                    Merged with Quality Aircraft Tooling             EIN:         XX-XXXXXXX
             Marietta, GA                                     Inc 2017; surviving corp QAT
                                                                                                               From-To      1969-2018


26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26a.1.       Birnbrey, Minsk, Minsk & Perling LLC                                                                                       8.2017-present
                    1801 Peachtree St, NE
                    Suite 300
                    Atlanta, GA 30309-1815

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

              None


    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

              None

       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

              None

       Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

            No
            Yes. Give the details about the two most recent inventories.

                Name of the person who supervised the taking of the                          Date of inventory        The dollar amount and basis (cost, market,
                inventory                                                                                             or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

       Name                                          Address                                              Position and nature of any                    % of interest, if
                                                                                                          interest                                      any
       Rhonda Kahn                                                                                        Director                                      0




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                            page 7

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                                                                                                                                                      11/30/23 4:15 PM
             Case 23-61841-jwc                       Doc 1            Filed 11/30/23 Entered 11/30/23 16:18:43                            Desc Main
                                                                     Document      Page 52 of 68
 Debtor      Quality Aircraft Tooling Inc                                                               Case number (if known)



       Name                                          Address                                              Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Ivan Kahn                                                                                          Director                              0


       Name                                          Address                                              Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Jaime Slocumb                                                                                      Director                              0


       Name                                          Address                                              Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Brandon Kahn                                                                                       Officer                               0




29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


            No
            Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

            No
            Yes. Identify below.

               Name and address of recipient                    Amount of money or description and value of              Dates              Reason for
                                                                property                                                                    providing the value
       30.1 Rhonda Kahn
       .    2620 Hill Gate Ct                                                                                            12.20221.1.23-
               Snellville, GA                                   $26000                                                   4.1.23             executive salary

               Relationship to debtor
               CEO


       30.2 Ivan Kahn                                                                                                    12.20221.1.23-
       .                                                        $16800                                                   4.15.23            executive salaries

               Relationship to debtor
               Executive Advisor


       30.3 Brandon Kahn
       .                                                        $62,348                                                  12.22-4.23         executive salary

               Relationship to debtor
               VP Development & Purchasing


31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

            No
            Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    page 8

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                                                                                                                                                   11/30/23 4:15 PM
             Case 23-61841-jwc                       Doc 1            Filed 11/30/23 Entered 11/30/23 16:18:43                          Desc Main
                                                                     Document      Page 53 of 68
 Debtor      Quality Aircraft Tooling Inc                                                               Case number (if known)



32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

            No
            Yes. Identify below.

    Name of the pension fund                                                                                   Employer Identification number of the pension
                                                                                                               fund

 Part 14:     Signature and Declaration

       WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
       connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
       18 U.S.C. §§ 152, 1341, 1519, and 3571.

       I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
       and correct.

       I declare under penalty of perjury that the foregoing is true and correct.

 Executed on          November 30, 2023

 /s/    Rhonda Kahn                                                       Rhonda Kahn
 Signature of individual signing on behalf of the debtor                 Printed name

 Position or relationship to debtor         President

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                 page 9

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                                                                                                                                                                               11/30/23 4:15 PM
             Case 23-61841-jwc                               Doc 1            Filed 11/30/23 Entered 11/30/23 16:18:43                                               Desc Main
                                                                             Document      Page 54 of 68
B2030 (Form 2030) (12/15)
                                                                        United States Bankruptcy Court
                                                                                 Northern District of Georgia
 In re       Quality Aircraft Tooling Inc                                                                                                          Case No.
                                                                                                           Debtor(s)                               Chapter    7

                            DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that compensation
       paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to be rendered on
       behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept ....................................................................                  $                  7,500.00
             Prior to the filing of this statement I have received .......................................................                     $                  7,500.00
             Balance Due ...................................................................................................................   $                      0.00

2.     The source of the compensation paid to me was:
                   Debtor                      Other (specify):

3.     The source of compensation to be paid to me is:
                   Debtor                      Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A copy
            of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b. Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d. [Other provisions as needed]
               Negotiations with secured creditors to reduce to market value; exemption planning; preparation and filing of reaffirmation
               agreements and applications as needed; preparation and filing of motions pursuant to 11 USC 522(f)(2)(A) for avoidance of
               liens on household goods.

                   Pre-filing analysis and discussions regarding potential creditor claims, non-dischargeability actions and anticipated
                   objections to discharge. Negotiations with any creditor that files a proof of claim that is marked disputed in debtor's
                   schedules. Pre-litigation negotiations with any creditor that threatens an adversary proceeding or other motion or legal
                   proceeding in the Debtor's case.

                   If Client wishes to retain Attorney to represent Client in any Adversary Proceeding or Appellate Proceeding that arises in or
                   is related to this case, Client and Attorney shall execute a separate contract setting forth the fee and scope of representation
                   for that proceeding.

6.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               Representation of the debtors in any dischargeability actions, judicial lien avoidances, relief from stay actions or any other
               adversary proceeding.
                                                                                             CERTIFICATION
     I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in this
 bankruptcy proceeding.

     November 30, 2023                                                                                    /s/ Ian Falcone
     Date                                                                                                 Ian Falcone 254470
                                                                                                          Signature of Attorney
                                                                                                          The Falcone Law Firm, PC
                                                                                                          363 Lawrence St NE
                                                                                                          Marietta, GA 30060-2056
                                                                                                          (770) 426-9359 Fax:
                                                                                                          imf@falconefirm.com
                                                                                                          Name of law firm



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                                                                                                                                11/30/23 4:15 PM
             Case 23-61841-jwc                      Doc 1             Filed 11/30/23 Entered 11/30/23 16:18:43       Desc Main
                                                                     Document      Page 55 of 68




                                                             United States Bankruptcy Court
                                                                      Northern District of Georgia
 In re      Quality Aircraft Tooling Inc                                                             Case No.
                                                                                    Debtor(s)        Chapter    7




                                              VERIFICATION OF CREDITOR MATRIX


I, the President of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and correct to

the best of my knowledge.




 Date:        November 30, 2023                                          /s/ Rhonda Kahn
                                                                          Rhonda Kahn/President
                                                                         Signer/Title




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                                                                                11/30/23 4:15 PM
Case 23-61841-jwc   Doc 1    Filed 11/30/23 Entered 11/30/23 16:18:43   Desc Main
                            Document      Page 56 of 68


                            Accurate Screw Machine
                            10 Audrey Place
                            Fairfield, NJ 07004


                            AGM Fabric
                            27721 Pacific Hwy
                            Federal Way, WA 98003


                            Air Products Co
                            78 Dawson Village Way N Suite 140-127
                            Dawsonville, GA 30534


                            Air Specialists
                            PO Box 4185
                            Marietta, GA 30061


                            Aircraft Hose Store
                            7800 Freedom Ave NW, North
                            North Canton, OH 44720


                            Aircraft Inventory Management & Services
                            14936 Trend Drive
                            Dallas, TX 75234


                            Aircraft Spruce
                            225 Airport Circle
                            Corona, CA 92880


                            All Vac Industries Inc
                            7350 N Central Park Ave
                            Skokie, IL 60076


                            Altus Receivables Management
                            2121 Airline Drive Suite 520
                            Metairie, LA 70002


                            Amazon
                            410 Terry Ave N
                            Seattle, WA 98109


                            American Express
                            PO Box 60189
                            City of Industry, CA 91716-0189


                            Ameripress Printing
                            200 Fairground St NE
                            Marietta, GA 30060


                            Amex
                            PO Box 60189
                            City of Industry, CA 91716-0189


                            Amex Platinum
                            PO Box 60189
                            City of Industry, CA 91716-0189
                                                                                11/30/23 4:15 PM
Case 23-61841-jwc   Doc 1    Filed 11/30/23 Entered 11/30/23 16:18:43   Desc Main
                            Document      Page 57 of 68


                            Anderson Process
                            21365 Gateway Court
                            Brookfield, WI 53045


                            Applied Industrial Technologies
                            22510 Network Place
                            Chicago, IL 60673-1225


                            ARC Document Solutions LLC
                            PO Box 953466
                            Saint Louis, MO 63195-3466


                            Ashley Sling Inc
                            PO Box 44413
                            Atlanta, GA 30336


                            Atlanta Caster
                            1810 E Auger Dr
                            Tucker, GA 30084


                            Atlanta Technology Services
                            1152 Grassmeade Way
                            Snellville, GA 30078


                            Atlantic Capital Bank
                            3280 Peachtree Rd Suite 1600
                            Atlanta, GA 30305


                            Aviall
                            2750 Regent Blvd
                            Dallas, TX 75261


                            Avibank Manufacturing Inc
                            29312 Network Place
                            Chicago, IL 60673-1293


                            AWC Atl
                            PO Box 974800
                            75397-4800


                            B&B Aircraft Supplies
                            617 Pacific Ave
                            Osawatomie, KS 66064


                            Berkovitch & Bouskila PLLC
                            1545 US 202 Suite 101
                            Pomona, NY 10970


                            Bibb Controls Systems
                            2909 Lanier Heights Rd
                            Macon, GA 31217


                            Birnbrey, Minsk, Minsk & Perling LLC
                            1801 Peachtree St NE Suite 300
                            Atlanta, GA 30309-1815
                                                                                11/30/23 4:15 PM
Case 23-61841-jwc   Doc 1    Filed 11/30/23 Entered 11/30/23 16:18:43   Desc Main
                            Document      Page 58 of 68


                            Boeing Commercial Airplanes
                            PO Box 3707
                            Seattle, WA 98124-2207


                            Boeing Intellectual Property Licensing
                            12090 Collections Center Dr
                            Chicago, IL 60693


                            Bowstone
                            150 Christa Ct
                            Ball Ground, GA 30107


                            Brandon Kahn
                            2620 Hill Gate Ct
                            Snellville, GA 30039


                            Caine & Weiner
                            5805 Sepulveda Blvd 4th floor
                            Van Nuys, CA 91411


                            Capital Express Inc.
                            405 Lexington Ave Suite 900
                            New York, NY 10174


                            Capital Express LLC
                            1161 Bedford Ave
                            Brooklyn, NY 11216


                            Capital on Tap
                            675 Ponce de Leon #8500
                            Atlanta, GA 30308


                            CB2 Resources LLC
                            455 Lincoln Pkwy E Suite 550
                            Atlanta, GA 30346


                            Cintas
                            FAS Lockbox 636525 PO Box 636525
                            Cincinnati, OH 45263-6525


                            Circle A Fences
                            1589 Canton Rd
                            Marietta, GA 30066


                            Circle Valve Technologies Inc
                            1533 Gemma
                            Harleysville, PA 19438


                            City of Marietta
                            PO Box 609
                            Marietta, GA 30061


                            Cobb County Property Tax
                            PO Box 10027
                            Marietta, GA 30061
                                                                                11/30/23 4:15 PM
Case 23-61841-jwc   Doc 1    Filed 11/30/23 Entered 11/30/23 16:18:43   Desc Main
                            Document      Page 59 of 68


                            Cobb Tool Inc
                            5886 Dodgen Rd SW
                            Mableton, GA 30126


                            Colliflower Hose & Fittings
                            1890 West Oak Pkwy
                            Marietta, GA 30062


                            Crestwood Financial Group
                            One Odell Plaza Suite 139
                            Yonkers, NY 10701


                            David Fogel, Esq
                            1225 Franklin Ave Suite 201
                            Garden City, NY 11530


                            DB Roberts Company
                            Box 405026 6000 Feldwood Rd
                            Atlanta, GA 30349


                            Digi-Key
                            701 Brooks Ave South
                            Thief River Falls, MN 56701


                            Don Leviton
                            One Pierce Place Suite 725W
                            Itasca, IL 60143


                            E3 Welding
                            4329 Highborne Dr NE
                            Marietta, GA 30066


                            eBay
                            2025 Hamilton Ave
                            San Jose, CA 95125


                            ECAS LLC
                            399 East Dr
                            Melbourne, FL 32904


                            EDM Technologies Inc
                            325 Bell Park Dr
                            Woodstock, GA 30188


                            Elmore & Associates Inc
                            3340 Peachtree Rd NE Suite 1800
                            Atlanta, GA 30326


                            EnviroServe Chemicals Inc
                            603 South Wilson Ave
                            Dunn, NC 28334


                            eSheaves.com
                            901 Industrial Blvd
                            Naples, FL 34104
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Case 23-61841-jwc   Doc 1    Filed 11/30/23 Entered 11/30/23 16:18:43   Desc Main
                            Document      Page 60 of 68


                            ESP Receivables Management Inc
                            PO Box 1547
                            Mandeville, LA 70470


                            EURO Machine Building Co, Inc
                            PO Box 2624
                            Loganville, GA 30052


                            Fastenal
                            2255 McCollum Pkwy Suite 400
                            Kennesaw, GA 30144


                            FedEx International
                            PO Box 660481
                            Dallas, TX 75266-0481


                            FLO-Control
                            80 Center Dr
                            Cartersville, GA 30121


                            Fluid Flow Products
                            3915 Shorten Rd Ste 101
                            Charlotte, NC 28217-3047


                            Ford Tool and Carbide
                            PO Box 576
                            Birmingham, AL 35201


                            Fredrick-Shelton & Associates Inc
                            PO Box 1405
                            Suwanee, GA 30024


                            Gabrielle Byrnes
                            2752 Wyndcliff Way
                            Marietta, GA 30066


                            Georgia Department of Revenue
                            Compliance Div
                            ARCS-BK 1800 Century Blvd, Suite 9100
                            Atlanta, GA 30345


                            Green Note Capital Partners
                            1019 Avenue P Suite 401
                            Brooklyn, NY 11223


                            HFH RG Funding
                            1876 Lakewood Rd #7
                            Toms River, NJ 08755


                            Home Depot
                            449 Roberts Ct NW
                            Kennesaw, GA 30144


                            Hose Warehouse/Murdock Industrial Inc
                            553 Carroll St
                            Akron, OH 44304
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Case 23-61841-jwc   Doc 1    Filed 11/30/23 Entered 11/30/23 16:18:43   Desc Main
                            Document      Page 61 of 68


                            Huntington National Bank
                            17 S High St
                            Columbus, OH 43215


                            Huntington National Bank c/o
                            Attn: Mark Schroeder
                            Taft Stettinius & Hollister LLP 2200 IDS
                            Minneapolis, MN 55402


                            Huntington National Bank c/o
                            Taft Stettinius & Hollister LLP
                            2200 IDS Center 80 South 8th St
                            Minneapolis, MN 55402


                            Hydradyne LLC
                            PO Box 974799
                            Dallas, TX 75397


                            Hydraflow
                            1881 W Malvern
                            Fullerton, CA 92833


                            Intech Funding Corp
                            201 E Huntington Drive Suite 201
                            Monrovia, CA 91016


                            Internal Revenue Service
                            PO Box 7346
                            Philadelphia, PA 19101-7346


                            James Norton
                            4464 Patrick Dr NE
                            Kennesaw, GA 30144


                            Jergens, Inc
                            15700 South Waterloo Rd
                            Cleveland, OH 44110


                            Johnston Integration Tech
                            10703 W Seminole St
                            Tulsa, OK 74115


                            Joyce Dayton Corp
                            3300 South Dixie Dr
                            Dayton, OH 45439


                            JPMorgan Chase- Visa
                            270 Park Ave, Fl 12
                            New York, NY 10017


                            Julia Scallion
                            20717 Tuolumne Rd N
                            Tuolumne, CA 95379
                                                                                11/30/23 4:15 PM
Case 23-61841-jwc   Doc 1    Filed 11/30/23 Entered 11/30/23 16:18:43   Desc Main
                            Document      Page 62 of 68


                            Kaizen Solutions-Top Brass
                            PO Box 7067
                            Lees Summit, MO 64064


                            Kapitus
                            2500 Wilson Blvd Suite 350
                            Arlington, VA 22201


                            Karen Mahoney-Wilson
                            4904 Elrod
                            Castro Valley, CA 94546


                            Keith Mitchell
                            2322 Westland Way
                            Acworth, GA 30102


                            Kenneth Hutto
                            15 Corson Trail
                            Taylorsville, GA 30178


                            Knightsbridge Funding LLC
                            40 Wall St Suite 2903
                            New York, NY 10005


                            Macquarie Equipment Capital Inc
                            1301 Riverplace Blvd
                            Jacksonville, FL 32207


                            Marcus by Goldman Sachs
                            Goldman Sachs Bank USA PO box 70379
                            Philadelphia, PA 19176-0379


                            Marietta Power
                            PO Box 609
                            Marietta, GA 30061


                            May Technology and Mfg, Inc
                            2922 Wheeling Ave
                            Kansas City, MO 64129


                            McMaster-Carr
                            PO Box 7690
                            Chicago, IL 60680


                            McNeel Family Limited Partnership
                            c/o Rozen Rozen & Reilly, LLP
                            248 Roswell St, SE Suite 100
                            Marietta, GA 30060


                            Meridian Equipment Finance
                            9 Lincoln Hwy
                            Malvern, PA 19355
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Case 23-61841-jwc   Doc 1    Filed 11/30/23 Entered 11/30/23 16:18:43   Desc Main
                            Document      Page 63 of 68


                            Meridian Equipment Finance
                            Attn: Nathaniel T Reed, Senior Collector
                            367 Eagleview Blvd
                            Exton, PA 19341


                            Metal Supermarkets
                            1000 Williams Dr Suite 1012
                            Marietta, GA 30066


                            Mink's Fabrication
                            150 Oak Blackberry Trail
                            Canton, GA 30114


                            Modus Advanced Inc
                            1575 Greenville Rd
                            Livermore, CA 94550


                            Mohawk Rubber
                            PO Box 735219
                            Chicago, IL 60673-5219


                            Morgan Aero Products
                            1450 80th St SW
                            Everett, WA 98203


                            Motion Industries
                            1605 Alton Rd
                            Birmingham, AL 35210


                            MSC Industrial Supply
                            PO Box 953635
                            Saint Louis, MO 63195-3635


                            Nameplates Inc
                            PO Box 4608
                            Tulsa, OK 74159


                            Nav-Aids
                            2955 Diab Street
                            Montreal, QC H4S 1M1 Canada


                            Newark/Element 14
                            33190 Collection Center Drive
                            Chicago, IL 60693-0331


                            NexAir
                            PO Box 125
                            Memphis, TN 38101


                            Ngyuen/Ballato
                            2201 Libbie Ave
                            Richmond, VA 23230


                            Olympic Case Company
                            9110 King Palm Drive Suite 101
                            Tampa, FL 33619
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Case 23-61841-jwc   Doc 1    Filed 11/30/23 Entered 11/30/23 16:18:43   Desc Main
                            Document      Page 64 of 68


                            Omega Technologies
                            31125 Via Colinas Suite 905
                            Thousand Oaks, CA 91362


                            Online Carbide
                            438 West Railroad Ave
                            Batesburg, SC 29006


                            OnlineMetals.com
                            PO Box 894118
                            Los Angeles, CA 90189-4118


                            Orkin
                            1007 Mansell Rd Suite E
                            Roswell, GA 30076


                            Oscar Health Inc
                            75 Varick St, 5th floor
                            New York, NY 10013


                            OSHCUT LLC
                            165 N 1330 W #C4
                            Orem, UT 84057


                            Plano Molding
                            431 E South St
                            Plano, IL 60545


                            PSI-Tronix
                            Force Switch Corp PO Box 3503
                            San Dimas, CA 91773


                            Quench USA Inc
                            630 Allendale Rd Suite 200
                            King of Prussia, PA 19406


                            Rapid Finance
                            4500 East West Highway 6th floor
                            Bethesda, MD 20814


                            Reid Supply
                            1269 E Mount Garfield Rd Suite E
                            Muskegon, MI 49441


                            Rhonda & Ivan Kahn
                            2620 Hill Gate Ct
                            Snellville, GA 30039


                            RiggingWarehouses.com
                            1 Tomsons Rd #100
                            Saugerties, NY 12477


                            Road Runner Recycling
                            PO Box 6011
                            Hermitage, PA 16148
                                                                                11/30/23 4:15 PM
Case 23-61841-jwc   Doc 1    Filed 11/30/23 Entered 11/30/23 16:18:43   Desc Main
                            Document      Page 65 of 68


                            Safran Landing Systems
                            Inovel Parc Sud 7
                            Rue General Valerie Andree 78140 Velizy


                            Satair USA, Inc
                            PO Box 74008759
                            Chicago, IL 60674-8759


                            SCANA Energy
                            PO Box 105046
                            Atlanta, GA 30348-5046


                            Seal Dynamics
                            Attn; Accounting
                            2 Adams Ave
                            Hauppauge, NY 11788


                            Service Steel Aerospace
                            3359 Bruening Cir SW
                            Canton, OH 44706


                            SkyGeek
                            30 Airway Dr
                            Lagrangeville, NY 12540


                            Snap-On
                            1461 Field Park Circle
                            Marietta, GA 30060


                            Southern Tool Steel
                            PO Box 731036
                            Dallas, TX 75373-1036


                            SouthState Bank
                            1101 1st St S
                            Winter Haven, FL 33880


                            SouthState Bank NA c/o
                            Golder Law LLC
                            101 Village Pkwy- Building 1, Suite 400
                            Marietta, GA 30067


                            Speed Machine, LLC
                            3348 Hogansville Rd
                            Lagrange, GA 30241


                            Spencer Aircraft
                            16911 103rd Ave Ste 102
                            Puyallup, WA 98374


                            Staples Business Advantage
                            PO Box 405386
                            Atlanta, GA 30348-5386
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Case 23-61841-jwc   Doc 1    Filed 11/30/23 Entered 11/30/23 16:18:43   Desc Main
                            Document      Page 66 of 68


                            Supersonic Funding
                            1608 S Ashland Av #35697
                            Chicago, IL 60608


                            Swagelok
                            PO Box 746832
                            Atlanta, GA 30374-6832


                            Tax Credit Co, LLC
                            PO Box 841971
                            Los Angeles, CA 90084-1971


                            TCF
                            11100 Wayzata Blvd Suite 801
                            Hopkins, MN 55305


                            Thomson Industries
                            48767 Kato Rd
                            Fremont, CA 94538


                            Threads for the South
                            1076 King Industrial Dr
                            Marietta, GA 30062


                            ToolSource.com
                            PO Box 149
                            Salamanca, NY 14779


                            Truist Card Services
                            PO Box 200
                            Wilson, NC 27894-0200


                            Uline
                            Attn Accounts Receivables
                            PO Box 88741
                            Chicago, IL 60680-1741


                            United Metalcraft
                            1215 Hayes Industrial Dr
                            Marietta, GA 30062


                            UPS
                            PO Box 7247-0244
                            Philadelphia, PA 19170


                            US Small Business Administration
                            2 North St Suite 320
                            Birmingham, AL 35203


                            Vallen Distribution Inc
                            PO Box 404753
                            Atlanta, GA 30384-4753


                            Velmex
                            7550 State Route 5 & 20
                            Bloomfield, NY 14469
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Case 23-61841-jwc   Doc 1    Filed 11/30/23 Entered 11/30/23 16:18:43   Desc Main
                            Document      Page 67 of 68


                            Worthco
                            PO Box 88
                            Stevens Point, WI 54481


                            Yardstore
                            725 E Central
                            Wichita, KS 67201


                            Zoro Tools
                            PO Box 5233
                            Janesville, WI 53547-5233
                                                                                                                                      11/30/23 4:15 PM
              Case 23-61841-jwc                          Doc 1          Filed 11/30/23 Entered 11/30/23 16:18:43               Desc Main
                                                                       Document      Page 68 of 68



                                                                     United States Bankruptcy Court
                                                                        Northern District of Georgia
  In re      Quality Aircraft Tooling Inc                                                                       Case No.
                                                                                      Debtor(s)                 Chapter    7




                                               CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Quality Aircraft Tooling Inc in the above captioned action, certifies that the following is
a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any
class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



     None [Check if applicable]




  November 30, 2023                                                      /s/ Ian Falcone
 Date                                                                    Ian Falcone 254470
                                                                         Signature of Attorney or Litigant
                                                                         Counsel for Quality Aircraft Tooling Inc
                                                                         The Falcone Law Firm, PC
                                                                         363 Lawrence St NE
                                                                         Marietta, GA 30060-2056
                                                                         (770) 426-9359 Fax:
                                                                         imf@falconefirm.com




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